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         Exhibit B
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Warranty and Customer Information
Model Year 2020 - Taycan
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These express warranties are provided by Porsche Cars N.A., and         This booklet is accurate at the time of printing.
are in lieu of all other express warranties of Porsche Cars N.A., the   However, changes to the contents may be made at any time. Specifications
manufacturer, and selling dealer.                                       are also subject to change without notice.

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Atlanta, Georgia 30354
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is the sole authorized importer of Porsche vehicles in the United
States and offers these express warranties on U.S. model vehicles       Direct inquiries to:
only.
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                                                                        Attn: Customer Relations
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Porsche recommends seat belt usage and observance of traffic
laws at all times.

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          New Car Limited Warranty & Customer Information
                     Model Year 2020 - Taycan
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Porsche Customer Relations                                                                   Warranty Enforcement Laws (Lemon Laws)
                                                                                             Laws in many states and federal law permit owners and/or lessees to obtain
Owner’s Arbitration Information
                                                                                             a replacement vehicle or a refund of the purchase or lease price under certain
                                                                                             circumstances. The provisions of these laws vary from state to state and vary from the
Dispute Resolution
                                                                                             federal law. To the extent allowed or not prohibited by applicable law, PCNA requires that
Porsche Cars North America, Inc. (“PCNA”) provides an alternate dispute resolution
                                                                                             you first provide PCNA itself with direct written notification of any alleged unrepaired
mechanism through CAP-Motors, administered by DeMars & Associates, Ltd. Page 6 of
                                                                                             defect or malfunction, or any other dissatisfaction you have experienced with your
this booklet contains a brief description of the program. CAP-Motors may be reached at
                                                                                             vehicle so that PCNA itself has the opportunity to cure the problem or dissatisfaction.
1 (800) 279-5343.
                                                                                             Giving PCNA itself this direct notice and opportunity to cure enables us to supplement
                                                                                             prior efforts by our authorized dealers so any ongoing problem can be resolved or the
You must utilize the CAP-Motors Arbitration Program, administered by DeMars &
                                                                                             dissatisfaction addressed by us. In states that have not enacted “lemon laws,” we also
Associates, Ltd., before seeking to enforce rights or obtain remedies in court under Title
                                                                                             require, without constituting any liability beyond the PCNA vehicle limited warranties,
I of the Magnuson-Moss Consumer Warranty Act.
                                                                                             that you give PCNA itself direct written notice of any service difficulty you have
                                                                                             experienced. Written notifications, either required under an applicable “Lemon Law” or
If you choose to seek redress by pursuing rights and remedies not created by
                                                                                             other written notifications should be sent to PCNA, not one of our Authorized Porsche
Title I of the Magnuson-Moss Consumer Warranty Act, you do not need to utilize the
                                                                                             dealers, at:
CAP-Motors arbitration program.

                                                                                             Porsche Cars North America, Inc.
You should also be aware that if you seek remedies under the “lemon laws” of
                                                                                             Attn: Customer Relations
your state, you may be required to use the CAP-MOTORS arbitration program. Please
                                                                                             One Porsche Drive
check the appropriate page in this booklet for the requirements applicable to your state.
                                                                                             Atlanta, GA 30354
The “Lemon Law” of your state may not apply to a vehicle you purchased used.

                                                                                             Or email at customer.relations@porsche.us
Consumer Arbitration Program for Motor Vehicles
Mobile Source Operations Division
                                                                                             Call us at 1-800-PORSCHE (1-800-767-7243)
P.O. Box 8001
El Monte, California 91731-2990
                                                                                             Tweet us using #PorscheCares

Warranty Outside the U.S.
                                                                                             What is CAP-Motors?
If your car is taken to an authorized Porsche dealer outside the U.S., PCNA’s
                                                                                             CAP-Motors, administered by DeMars & Associates, Ltd., is nationally staffed with
warranty will not be applicable and parts will be repaired or replaced only
                                                                                             professionals who are experienced in mediation and arbitration. CAP-Motors
within the terms and limitations of the warranty for new Porsche vehicles for
                                                                                             will investigate your case by reviewing the facts, inspecting the vehicle, and rendering a
your model year in effect in the country where such authorized Porsche
                                                                                             fair and equitable decision.
dealers are located.

                                                                                             How much will it cost?
                                                                                             There is no charge to you for submitting your dispute to CAP-Motors. However, you may
                                                                                             be charged a nominal fee for being provided copies of your case.


                                                                                                                                                                                          1
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    Porsche Customer Relations                                                                   How To Request Arbitration
    Owner’s Arbitration Information                                                              You may file a claim at any time by contacting CAP-Motors toll-free at (800) 279-5343.
                                                                                                 You will need the following information:
                                                                                                 • Vehicle year, make, model, vehicle identification number (VIN), mileage, and date of
    To Our Customer:
                                                                                                 purchase.
                                                                                                 • A brief description of your complaint and actions you have taken to resolve it.
    Porsche Cars North America, Inc. (PCNA) has a commitment to you and your
                                                                                                 • Copies of invoices with your request for arbitration if you are seeking reimbursement
    satisfaction. From your first phone call or visit to an authorized Porsche dealership,
                                                                                                 for repairs or related incidental expenses.
    through the purchase and delivery of your new Porsche automobile and to visits for parts
                                                                                                 • A copy of your vehicle registration.
    & service, your satisfaction is our number one objective.
                                                                                                 • A brief statement as to what action or remedy would resolve your problem.

    If you should experience a problem that has not been resolved to your satisfaction
                                                                                                 Send your request to:
    through Porsche’s authorized dealers or Customer Relations department, additional
    assistance may be available through CAP-Motors, A Customer Arbitration Program.
                                                                                                              Consumer Arbitration Program for Motor Vehicles
                                                                                                              Mobile Source Operations Division
    CAP-Motors will attempt to resolve your complaint through arbitration –a process by
                                                                                                              P.O. Box 8001
    which two or more parties authorize a third party to resolve the dispute. The decision is
                                                                                                              El Monte, California 91731-2990
    binding on PCNA but not on you. Some states require you to utilize the CAP-Motors
    process prior to pursuing a “Lemon Law” action. Please refer to pages 35-37 of this
                                                                                                 What other recourse do I have available?
    booklet for more information.
                                                                                                 If you are dissatisfied with the arbitrator’s decision or Porsche’s remedy, you may pursue
                                                                                                 any other legal remedies which you may have available to you. You should be aware that
    What Types Of Disputes Are Eligible?
                                                                                                 the arbitration findings are admissible as evidence in any subsequent legal proceedings
    CAP-Motors arbitrates disputes involving Porsche’s product reliability or warranty
                                                                                                 concerning your dispute. This description of CAP-Motors is based upon the program at
    performance concerning your Porsche automobile. However, they will not arbitrate
                                                                                                 the time of publication. The program is subject to change without further notice.
    claims for a vehicle involved in an accident, a vehicle used for commercial purposes-
                                                                                                 Contact CAP-Motors directly for the most current information concerning the CAP-
    unless the “Lemon Law” of your State covers a vehicle used for commercial purposes, or
                                                                                                 Motors Program.
    claims that an airbag failed to deploy, or deployed when it should not have. You must file
    a request for mediation /arbitration with CAP-Motors within the time period applicable
                                                                                                 The CAP-Motors program does not award:
    to the warranty coverage as supplied by PCNA, provided the concern or alleged defect
                                                                                                           Attorney Fees
    was brought to the attention of PCNA or one of its dealers during the eligibility period.
                                                                                                           Punitive Damages
                                                                                                           Multiple Damages
                                                                                                           Consequential Damages other than incidental damages which you may be
                                                                                                           entitled to under law.




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New Car Limited Warranty Coverage Provided by PCNA




 Replacement Parts and Accessories Limited Warranty -
                                                                      2 Years
 Unlimited Mileage



 New Car Limited Warranty and
 Porsche 24-Hour Roadside Assistance Program - 50,000 Miles               4 Years




 High-Voltage Battery Warranty – 100,000 Miles                                      8 Years




 Corrosion Perforation Limited Warranty - Unlimited Mileage                          12 Years




                                                                                                                       3
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    All of the Warranties Described in this Booklet are                                             DeMars & Associates, Ltd., Porsche’s selected administrator for the CAPMOTORS
    Subject to Following Limitations and Disclaimers:                                               program, is located at P. O. Box 925, Haslet, TX 76052-0925. Its toll free telephone
                                                                                                    number is 1-800-279-5343. More information regarding the program is contained on
    New Car Limited Warranty                                                                        pages 1, 2, 31, 32 and 33 of this booklet.
    This warranty is given to the owner of a Porsche vehicle distributed by Porsche Cars
    North America, Inc. (“PCNA”) and sold by an authorized Porsche dealer in the United             Warranty Coverage
    States.*                                                                                        Subject to the other terms and conditions of this limited warranty, PCNA will arrange
    * Authorized Porsche dealers are not owned by PCNA and are not                                  for an independent authorized Porsche dealer within the 50 United States to provide for
    agents of PCNA                                                                                  the repair of your vehicle if it fails to function properly as designed during normal use.
                                                                                                    Such service facilities will repair such failures to function properly as designed at PCNA’s
    Limitations and Disclaimers                                                                     expense, for parts and labor only, including the use, at PCNA’s sole discretion, of new or
    PCNA’s written warranty is exclusive and in lieu of all other warranties, whether oral or       remanufactured parts distributed by PCNA.
    written, express or implied. Any implied warranties, including the implied warranties of
    merchantability and fitness for a particular purpose, are limited to the duration of the        To obtain this warranty coverage, you must present your vehicle to such a service
    written warranty. PCNA does not authorize any individual or corporation to create for it        facility during its normal service hours, provide sufficient information to permit a proper
    any obligation, liability or other warranty in connection with this vehicle. PCNA disclaims     identification and diagnosis of the failure to function properly, and permit the facility
    any responsibility for loss of time or use of your car, as well as any other incidental,        adequate time to perform the necessary repair. As this obligation is subject to the terms,
    special, consequential or other similar expenses or damages.                                    conditions and limitations of this Booklet, you must refer to this Booklet to understand
                                                                                                    which repairs are covered by this warranty.
    Some states self limit the duration of the implied warranty and some do not allow
    either limitations on how long an implied warranty lasts, or the exclusion or limitation        If an authorized Porsche dealer in the U.S. declines or fails to carry out a proper repair
    of incidental or consequential damages, so the above limitations or exclusions may not          or replacement of a factory installed part covered by this limited warranty without
    apply to you. These specific warranties give you specific legal rights, and you may also        charge to you, Porsche will (a) determine if the repair or replacement requested by you
    have other rights, which vary from state to state.                                              is covered by this New Car Limited Warranty and, if so, (b) obtain cooperation from an
                                                                                                    authorized Porsche dealer to conduct such repair or replacement without charge to you.
    PCNA’s liability, if any, for products furnished under this warranty shall in no event exceed   However, PCNA’s obligation to do (a) and (b) requires you to contact Porsche Customer
    the cost of correcting failures in the product as herein provided and, upon the expiration      Relations at the number provided in this Booklet and provide all information needed by
    of this warranty, any such liabilities shall terminate.                                         them to carry out those obligations to you.




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From time to time, your authorized Porsche dealer may install a component that is              This Warranty Does Not Cover:
an updated version of original factory equipment. These updates of original factory            • Corrosion.
equipment are due to changes in technology only and are not done to correct or remedy          • Batteries damaged from storage, lack of normal vehicle use, or non-Porsche approved
normal vehicle operating characteristics (as determined by Porsche) or conditions                 electrical or accessory installation.
resulting from individual driving habits.                                                      • Any damage to your vehicle’s hardware or software, or any loss or harm to any personal
                                                                                                 information/data uploaded to your vehicle resulting from unauthorized access to
Time and Mileage Period                                                                          vehicle data or software from any source, including non-Porsche parts or accessories,
This warranty begins on the date the car is first delivered to the first retail purchaser or     third party applications, viruses, bugs, malware, or any other form of interference or
the date it is first used as a demonstrator, lease, or company car, whichever comes first.       cyber-attack.
                                                                                               • Overstraining or overloading the vehicle.
The car is covered for four (4) years or 50,000 miles, whichever comes first. The high-        • Using the vehicle as a power source.
voltage battery is covered for eight (8) years or 100,000 miles, whichever comes first.        • Tires damaged by road hazard. (If you need further assistance, contact your authorized
                                                                                                 Porsche dealer.)
Porsche will cease to have any warranty obligations under the New Car Limited Warranty,        • Tires damaged by premature wear.
and you will be responsible for all costs after the warranty coverage ends.                      Note: Porsche’s race-bred heritage demands that tires are an integral part of the
                                                                                                 vehicle suspension, braking, and active safety systems. As a result, all Porsche
To Get Warranty Service Under the New Car Limited Warranty                                       automobiles are equipped with tires designed for higher performance than those
You must take your car, along with proof of purchase date, to an authorized Porsche              found on other passenger vehicles. While tire wear varies with vehicle operation,
dealer during normal service hours. If the car is not driveable because of a failure covered     high performance tires like these are designed to assist the vehicle’s suspension in
by this warranty, call Porsche 24-Hour Roadside Assistance and your Porsche automobile           delivering increased cornering forces and better handling. Thus, they may exhibit
will be transported to the nearest authorized Porsche dealership, or contact the nearest         increased wear characteristics when compared to tires on other passenger vehicles.
authorized Porsche dealer for further assistance. You are responsible for presenting your        Consult your Owner’s Manual for information concerning the proper care and selection
Porsche automobile to a Porsche dealer as soon as a problem exists. Failure to do so             of your tires. (Refer to the Porsche Tire Information Guide for additional information.)
could result in consequential damage that may not be covered by your new car Limited           • Parts that fail due to lack of required maintenance or use of non-PCNA distributed
Warranty. If you cannot obtain warranty service, or you are dissatisfied with the service or      parts.
with a warranty decision, refer to the Consumer Information section in this Booklet.           • Normal wear or deterioration of any part.
                                                                                               • Cleaning and polishing.
Emergency Repairs                                                                              • Improper use or contamination of lubricants or other fluids.
Should the car become completely disabled, requiring repair in order to be driven, and         • Lubricants, unless part of a warranty repair.
there is no authorized Porsche dealer in the vicinity, have the repair performed sufficient    • Air conditioner refrigerant charge after the first three months of service unless part of
to drive the car and return the replaced parts and paid repair order to your authorized           a warranty repair.
Porsche dealer for reimbursement consideration.                                                • Glass breakage, chips and/or scratches that are not due to a defect in material or
                                                                                                  workmanship.
                                                                                               • Appearance items that are not due to a defect in material or workmanship.
                                                                                               • Any car registered or normally driven outside of the United States and Canada.




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    • The replacement of expendable maintenance items (such as filters, worn wiper blades,       Note: Your vehicle is a mechanical device. All mechanical devices make some sort of
       worn brakes, worn tires) when the replacement is not due to a defect in material or        noise and/or vibration, and these noises and vibrations can differ from vehicle to vehicle.
       workmanship.                                                                               PCNA recognizes those noises as normal and characteristic of the product. Normal
    • The adding of any fluids unless they are needed as part of a warranty repair.               noises or vibrations as determined by PCNA can be anything from brake squeal to road
    • Any car with an odometer that has been altered so that the actual mileage cannot be        vibration. Therefore, normal noise and/or vibration and/or deterioration as determined
       determined.                                                                                by PCNA or its representative are not covered by our New Car Limited Warranty.
    • Dealer-installed accessories not distributed by PCNA. (Refer to the Replacement Parts
       and Accessories Limited Warranty in this Booklet.)                                         Your Responsibility for Using Appropriate Replacement Parts
    • Wheel balancing and wheel alignment beyond the first three months of service unless        PCNA recommends only the use of parts supplied by PCNA. The use of replacement
                                                                                                  parts not supplied by PCNA may void some or all of your car’s limited new car warranty.
       part of a warranty repair.
                                                                                                  If a replacement part that PCNA did not supply is used in maintenance, repair, or
    • Unauthorized modifications or vehicles with total loss or salvage titles.                   modification of your car, and an authorized Porsche representative determines it is
    • Modifications not authorized by PCNA.                                                       defective or not equivalent to the original part, your claim for warranty repair or some or
    • Service adjustments (such as idle speed, brake, and headlight) beyond the first three      all of your car’s limited new car warranty may be voided.
       months of service unless part of a warranty repair.
    • Improper repairs by someone other than an authorized Porsche dealer of PCNA.               Your Responsibility for Maintenance
    • Abuse, accident, acts of God, competition, racing, track use, or other events.            You must maintain your Porsche automobile according to the Maintenance Schedule in
                                                                                                  the Maintenance Booklet and the Car Care Instructions in the Owner’s Manual and keep
      Note 1: Components and/or parts that fail during racing or driving events (including
                                                                                                  the receipts as proof of maintenance.
       Porsche sponsored events) may not be covered by the new car Limited Warranty.
       Note 2: You should also be aware that PCNA may deny you warranty coverage if your          Your Responsibility for Normal Vehicle Use
       vehicle or a part has failed due to abuse, neglect, improper maintenance or unapproved     Your Owner’s Manual (which includes specific recommendations against using your car
       modifications.                                                                             in certain ways) was written with the assumption that you will use your car only in ways
    • It is normal for debris to collect around the sunroof opening. It is extremely important   for which it was designed:
       that you have the drains for the sunroof (as applicable based upon your Porsche Taycan
                                                                                                  • To carry passengers and cargo within specified load limits. (The load limits are
       model) cleaned at least annually, and more often if they begin to become clogged with
                                                                                                     specified on labels located on your Porsche Taycan vehicle. Your Owner’s Manual gives
       debris. If you often park your vehicle outside or drive where there are many trees, more      the locations of the label.)
       frequent cleaning will be required. Failure to keep sunroof drains clean could result      • To be driven on reasonable road surfaces within legal speed limits. Porsche Guidelines
       in significant damage, including but not limited to water ingress, the repair of which        specify reasonable mileage to be at least 15 miles / 24 kilometers per day or 6000
       would not be covered by your Porsche New Vehicle Limited Warranty. Please see your            miles / 9600 kilometers per rolling 12 months.
       authorized Porsche dealer for details about having this work performed.                    • If you do not plan to drive your Taycan regularly, or plan not to drive it for several
                                                                                                     weeks, it is recommended that the vehicle be left plugged into the home charger
    • The outside of the underbody (floor pan) or any other part of the car except body
                                                                                                     when not using it. This enables the vehicle to maintain a charge level that helps
       panels.                                                                                       maintain Battery performance over time.
    • Paint damage caused by abuse or lack of proper maintenance.                                 • To be properly maintained according to the Maintenance Schedule in the Maintenance
    • Environmental damage (such as that caused by acid rain or other industrial pollution,         Booklet and Car Care Instructions in your Owner’s Manual. You must keep the receipts
       insect or bird droppings, tree sap, stones or other flying missiles, highway maintenance      as proof of maintenance.
       chemicals, flood, storm, and other forms of disaster).circumstances, pay for painting
       the entire car solely for paint color matching.)                                           You are responsible for presenting your Porsche Taycan automobile to an authorized
                                                                                                  Porsche dealer as soon as a problem exists. Failure to do so could result in
    • Paint damage caused by the application of unauthorized paint sealants or polymers.
                                                                                                  consequential damage that may not be covered by your New Car Limited Warranty.
       See your authorized Porsche dealer for details.

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High-Voltage Battery Coverage                                                                Note: The vehicle’s range estimates are an imperfect measure of net battery capacity
The Porsche Taycan high-voltage battery is covered against defects in materials or           because the vehicle’s range is affected by additional factors separate from battery
workmanship for a period of 8 years/100,000 miles and against excessive loss of              capacity. Additionally, the performance and durability of the high-voltage battery is
capacity, as defined below.                                                                  temperature-dependent. Colder temperatures will lower the battery’s capacity and the
                                                                                             vehicle’s range. Extreme high and/or low temperatures will impact the battery’s service
Excessive Loss of Capacity                                                                   life.
If a capacity measurement performed at a Porsche authorized dealer shows, at the times
specified below, that net battery capacity is less than the percentages specified below      This Warranty Does Not Cover:
(the “Warranted Value”), any percentage that falls below the relevant Warranted Value        In addition to the limitations described in this New Car Limited Warranty, this high-
constitutes “excessive loss of capacity”:                                                    voltage battery warranty does not cover any damage to, malfunction of, or excessive
• 100% of net battery capacity on the date the car is first delivered to the first retail   loss of capacity of the high-voltage battery directly or indirectly caused by, due to, or
  purchaser or the date it is first used as a demonstrator, lease, or company car,           resulting from abuse, misuse, negligence, accident, improper maintenance, operation,
  whichever comes first.                                                                     storage, or transport, including but not limited to any of the following:
• 80% of net battery capacity within the first 3 years/37,500 miles, whichever occurs       • Permanently removing the high-voltage battery from the vehicle or opening its case
  first.                                                                                        improperly and no longer operating the battery in combination with the vehicle.
• 70% of net battery capacity within the first 8 years/100,000 miles, whichever occurs      • Failure to observe the provisions relating to the operation, treatment and care of the
  first.                                                                                        vehicle (including information regarding the care and charging of the high-voltage
                                                                                                battery) set out in the Owner’s Manual.
Battery Repair or Replacement                                                                • The vehicle was subjected to improper treatment or excessive demands (e.g., using
If the high-voltage battery requires warranty repair, PCNA will repair the unit or replace     the vehicle in motorsport competitions) or otherwise overstraining or overloading the
it with a new, reconditioned, or remanufactured part at the sole discretion of PCNA.           vehicle.
The measurement method used to determine net battery capacity and the decision of            • The high-voltage battery has come into direct contact with open flame.
whether to repair, replace, or provide reconditioned or remanufactured parts, and the        • The high-voltage battery has been immersed in water or fluids.
condition of any such replaced, reconditioned, or remanufactured parts, are at the sole      • The high-voltage battery has been cleaned with high-pressure jet or steam cleaners or
discretion of PCNA.                                                                            aggressive liquids have been used on it.
                                                                                             • The high-voltage battery was damaged by outside or external influences (e.g., as a
The warranty repair or replacement may not restore the vehicle to a “like new” condition       result of an accident, hail, flood).
or return the net battery capacity to 100%. When repairing or replacing a high-voltage       • Failure to notify PCNA of any defect without undue delay.
battery, PCNA will ensure that the energy capacity of the repaired or replacement high-      • Failure to give PCNA an opportunity to rectify defects without undue delay, despite
voltage battery is at least the Warranted Value, as defined above.                              having been requested to do so.
                                                                                             • Subjecting the vehicle to improper repairs, improper maintenance or improper care,
You are required to provide the Porsche authorized dealer consent to access data stored         unless this was done by an authorized Porsche dealer when providing a warranty
on vehicle systems for the purpose of vehicle diagnosis and repair. Failure to do so will       service.
result in denial of warranty coverage.




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    • Parts were installed in, or fitted to, the vehicle, the use of which had not been approved   Corrosion Perforation Limited Warranty
      by the PCNA, or the vehicle was modified in a manner not approved by PCNA (e.g.,              This warranty is given to the owner of a Porsche Taycan automobile distributed by PCNA
      tuning).                                                                                      and sold by an authorized Porsche dealer in the United States. Only the owner of the
    • Exposing the vehicle to ambient temperatures above [temperature] for over [insert]           car is entitled to coverage and reimbursement under this warranty; this right cannot be
      days.                                                                                         transferred to anyone else (such as an insurance company).
    • Storing the vehicle in temperatures below [temperature] for over [insert] days.
    • Leaving the vehicle for over 14 days where the lithium-ion battery reaches a zero or         Time and Mileage Period
      near zero state of charge.                                                                    This warranty begins on the same date as the New Car Limited Warranty, and continues
    • Physically damaging the high-voltage battery or intentionally attempting, either by          for 12 years with no mileage limit. Any parts repaired or replaced under this warranty are
      physical means, programming, or other methods, to extend (other than as specified in          covered only for the remainder of this warranty.
      your Owners’ Manual and any documentation provided by PCNA) or reduce the life of
      the high-voltage battery.                                                                     Warranty Coverage
    • Neglecting to follow correct charging procedures.                                             PCNA will repair or replace with new parts distributed by PCNA, at its sole option, any
    • Use of incompatible charging devices.                                                         original body panels, including those repaired or replaced under this warranty, that are
                                                                                                    rusted completely through from the inside out (perforated by corrosion). The owner will
    The high-voltage battery, like all lithium-ion batteries, is subject to normal wear and tear    not be charged for material and labor. All parts replaced under this warranty become the
    caused by physical and chemical factors over its useful life. As a result, the high-voltage     property of PCNA.
    battery will experience gradual energy or power loss with time and use. Such loss of
    energy or power over time or due to or resulting from battery usage is NOT covered
                                                                                                    Porsche 24-hour Roadside Assistance Program
    under this New Car Limited Warranty, except to the extent specified in the High-Voltage
                                                                                                    PCNA is committed to the premise that owning a Porsche will be as satisfying as driving
    Battery Coverage.
                                                                                                    a Porsche. To enhance your ownership experience, PCNA provides complimentary
                                                                                                    coverage in the Porsche Roadside Assistance program for the duration of your New Car
    Your Responsibility for Normal Use
                                                                                                    Limited Warranty or Porsche Approved Certified Pre-Owned Limited Warranty period.
    Your Owner’s Manual (which includes specific recommendations against using your car in
                                                                                                    Our team of trained and qualified Roadside Assistance professionals is available 365
    certain ways) was written with the assumption that you will use your car only in ways for
                                                                                                    days a year to assist in determining the best service option for your situation. Roadside
    which it was designed. Please refer to your Owner’s Manual for important information on
                                                                                                    Assistance, teamed with its comprehensive nationwide towing network, brings you
    how to maximize the life and capacity of the high-voltage battery.
                                                                                                    world-class assistance, anywhere in the United States or Canada. We know that you take
                                                                                                    pride in your Porsche, and authorized Porsche dealers are committed to the care of your
                                                                                                    exceptional vehicle. In many situations preventive care could be the key to avoiding a
                                                                                                    need for emergency assistance. Adhering to your vehicle’s regular maintenance schedule,
                                                                                                    keeping the high-voltage battery charged when your vehicle is not driven on a regular
                                                                                                    basis, and checking tire pressure frequently, will help you avoid those times when it may
                                                                                                    be necessary to call Porsche Roadside Assistance.




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Porsche Roadside Response                                                                       For security reasons, towing services cannot be provided to an unattended vehicle.
In certain metropolitan markets, Roadside Assistance includes mobile dealer Roadside            Therefore, a licensed driver must be on the scene to meet the service provider.
Response teams that can be quickly dispatched and are equipped to assist with certain
services. Porsche Roadside Assistance will screen each service request to determine             If a breakdown occurs after normal business hours, and the servicing Porsche dealership
whether the circumstances can be handled by a dealer Roadside Response team or if the           does not have a secure storage lot, your Porsche will be stored in a secure location and
vehicle will need to be transported to the nearest dealer. 1                                    transported to the dealership the next business day. Your vehicle must be located on or
                                                                                                in an area immediately adjacent to a regularly traveled road that can be accessed with
The Porsche Roadside Assistance program offers the following services:                          standard servicing equipment.
• Out of Charge Service
• Emergency towing                                                                              Flat Tire Assistance
• Flat tire assistance                                                                          Your tires have been designed specifically for your Porsche vehicle. They are identified
• Lock-out assistance                                                                           by an N-specification (NF0, NF1, NF2) on the sidewall indicating that the tires have
• Extrication/winch service                                                                     been tested and approved for release by the Porsche engineering department. When
• Trip interruption reimbursement                                                               an N-spec tire becomes damaged it must be replaced and the tread depth of the
                                                                                                undamaged tires should be examined.
Roadside Response teams are equipped to assist with:
• Flat Tire assistance – install puncture repair system, operator’s spare tire or dealer’s     Should a tire lose air, rendering your Porsche vehicle inoperable, there are several options
  loaner spare tire                                                                             to get you on your way. The Porsche Roadside Assistance professionals will help you
• Lock-out assistance                                                                           determine the best servicing choice for your needs. Only in situations where the damage
                                                                                                to the tire is beyond temporary repair will it be necessary to transport the vehicle to the
Out of Charge Service                                                                           nearest authorized Porsche dealership for tire replacement.
If your vehicle is out of charge, we will work with you to find a convenient location to have
your vehicle towed to within a 50 mile radius for charging.                                     Should the tire event occur in excess of 100 miles from the nearest authorized Porsche
                                                                                                dealership, the Porsche Roadside Assistance professionals are equipped to assist you
If a mechanical problem is suspected, your car will be towed to the nearest authorized          in purchasing the correct replacement tire so that your vehicle may be transported
Porsche dealership as described in Emergency Towing.                                            to a Preferred Tire Installer in your area. Costs associated with the tire will be your
                                                                                                responsibility; however, Porsche Roadside Assistance will cover expenses related to the
Emergency Towing                                                                                tow.
If your Porsche vehicle becomes disabled due to a warrantable mechanical breakdown,
your vehicle will be transported to the nearest Porsche dealership. However, you may            In all situations N-spec tires are not repairable nor are they covered under the New Car
request that your Porsche vehicle be taken to a different Porsche dealership, as long as        Limited Warranty.
that dealership is within a 50 mile/80 kilometer radius of your breakdown location.
                                                                                                Lock-out Service
                                                                                                Should the key to your vehicle become locked inside, a qualified service provider will be
                                                                                                dispatched to gain access to your vehicle.
¹ Roadside Response repairs may involve additional charges for parts and/or labor.




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     Lost or Stolen Key                                                                           To Make a Claim for Trip Interruption
     Should your key become lost or stolen, lock-out service can still be provided but every      You must contact Porsche Roadside Assistance for a reference number and instructions
     attempt should be made to obtain your spare key to avoid repair costs that are not           for reimbursement consideration within 24 hours of disablement. All claims must be
     covered by the Porsche Roadside Assistance. Consult your authorized Porsche dealer for       submitted within thirty (30) days after the event, and must be accompanied by a brief
     more information.                                                                            summary of the incident, and original itemized receipts indicating amount paid, date, and
                                                                                                  name of service provider(s) to:
     Extrication/Winch Service
     Service will be provided to extract your Porsche vehicle from mud, sand, snow, or a ditch.   Porsche Roadside Assistance – Trip Interruption
                                                                                                  PO Box 9145
     Trip Interruption                                                                            Medford, MA 02155
     If your Porsche vehicle becomes disabled more than 100 miles from your residence and         Please allow 3-4 weeks for processing of your reimbursement.
     causes an unexpected stay overnight, you may be eligible for reimbursement of your
     expenses of up to $250 USD per day for up to three days, up to a maximum of $750             Limitations
     USD per event including all taxes and surcharges and limited to reasonable expenses.         Every effort will be made to ensure the services you receive under the Porsche Roadside
     This includes situations where the vehicle cannot be started or driven without causing       Assistance program are of the highest quality. All roadside services will be delivered to
     damage and the local authorized Porsche dealership is not able to repair the problem the     you through a comprehensive network of independent service operators. However, since
     same day. Trip Interruption coverage includes reimbursement for:                             these operators are independent business people, Porsche Roadside Assistance cannot
     • Meals                                                                                      assume any liability for any loss, damage, or consequences resulting from the rendering
     • Lodging                                                                                    of such service. Should your vehicle become disabled on a restricted highway, Porsche
     • Alternate transportation                                                                   Roadside Assistance is limited in its ability to transport your vehicle. Once the vehicle has
     • Car rental (in cities not serviced by an authorized Porsche dealer within 50 miles)        been moved to a non-restricted road, Porsche Roadside Assistance is able to complete
                                                                                                  the vehicle transport to an authorized Porsche dealer.
     In certain situations, Trip Interruption reimbursement can be applied towards a
     vehicle reunite (returning your Porsche to your work or residence). Please contact           Program Exclusions
     1-800-PORSCHE for prior authorization.                                                       Specifically excluded from this coverage are:
                                                                                                  • Vehicle abuse, vandalism, accidents, acts of God, competition racing or track use, or
     Please note that Trip Interruption reimbursement covers reasonable expenses incurred           other events beyond the control of PCNA.
     due to a warrantable mechanical failure only. Expenses related to tire and battery issues    • Fines, taxes, or impound fees caused by a violation of local or state law.
     are not eligible for reimbursement.                                                          • Expenses related to hazardous weather conditions (removal from snow, ice, etc.)
                                                                                                  • Expenses for the removal of snow tires, and mounting or removal of snow chains.
                                                                                                  • If your Porsche has aftermarket tires and/or wheels installed or has had the suspension
                                                                                                     modified, Porsche Roadside Assistance will assist in setting up transport of your
                                                                                                     vehicle, but this expense will not be covered under the Porsche Roadside Assistance
                                                                                                     program.




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                          Genuine Parts and Accessories




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                          Two Year Unlimited Mileage Limited Warranty

                          Genuine Porsche parts are designed with such precision, with tolerances so incredibly tight, that
                          Porsche confidently backs them with a Limited Warranty that’s good for two full years and
                          unlimited mileage. It includes both parts and labor at all authorized Porsche dealers and covers
                          every genuine Porsche part we sell, when sold and installed by an authorized Porsche dealer.
                          When it’s your turn, don’t settle for anything less than Genuine Porsche parts. For the name of your
                          nearest authorized Porsche dealer, call 1-800-PORSCHE.




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     Replacement Parts and Accessories                                                                    using it. This enables the vehicle to maintain a charge level that helps maintain Battery
                                                                                                          performance over time.
     Limited Warranty
                                                                                                        •To be properly maintained according to the Maintenance Schedule in the Maintenance
     This warranty is given to the owner of any Porsche replacement part or accessory
                                                                                                         Booklet and Car Care Instructions in your Owner’s Manual. You must keep the receipts
     distributed by PCNA and sold by any authorized Porsche dealer in the United States or
                                                                                                         as proof of maintenance.
     Canada.

                                                                                                        You are responsible for presenting your Porsche vehicle to an authorized Porsche dealer
     Time and Mileage Period
                                                                                                        as soon as a problem exists. Failure to do so could result in consequential damage that
     Parts supplied by PCNA and purchased from and installed by an authorized Porsche
                                                                                                        may not be covered by your limited factory warranty.
     dealer at time of purchase are covered for two years, unlimited mileage from the date
     installed, unless the repaired or replaced part is covered under the New Car Limited
                                                                                                        This Warranty Does Not Cover:
     Warranty. Any repaired or replaced parts are covered only for the remainder of this
                                                                                                        • Clothing, luggage, leather, bicycles (see separate warranties at your authorized Porsche
     warranty. All parts replaced under this warranty become the property of PCNA.
                                                                                                           dealer).
                                                                                                        • Parts installed in vehicles for racing, competition, or track use.
     Warranty Coverage
                                                                                                        • Batteries damaged from storage, lack of normal vehicle use, or non-Porsche approved
     PCNA will arrange for repair or replacement using new or remanufactured parts
                                                                                                           electrical or accessory installation.
     distributed by PCNA, at its sole option, any part covered under this warranty that
                                                                                                        • Parts for which proof of purchase date, installation date and vehicle mileage at the time
     is defective in material or workmanship under normal use. Parts that were sold and
                                                                                                           of installation are not presented.
     installed by an authorized Porsche dealer will be repaired or replaced without charge
                                                                                                        • Parts considered normal maintenance items (such as brake pads, linings, clutch discs,
     either for parts or labor. If installed by anyone else, the cost of the replacement parts
                                                                                                           tires, exhaust systems, shocks, struts, wiper blades, trim, decals, foil, mirror/car cover,
     or accessories will be borne by PCNA (even in the case of emergency repair), but labor
                                                                                                           bras, paint, etc.) unless they are defective in material or workmanship.
     charges will be your responsibility. All parts supplied under this warranty will be supplied
                                                                                                        • Parts replaced under the New Car Limited Warranty, or parts covered under other
     by PCNA and all parts replaced become the property of PCNA.
                                                                                                           warranties.
                                                                                                        • Normal wear, adjustments, or deterioration of any part.
     Your Responsibility for Normal Vehicle Use
                                                                                                        • Parts installed in a car with an odometer that has been altered so that the actual
     Your Owner’s Manual (which includes specific recommendations against using your car in
                                                                                                           mileage cannot be determined.
     certain ways) was written with the assumption that you will use your car only in ways for
                                                                                                        • Improper repairs causing damage to the vehicle, its engine, or parts.
     which it was designed:
                                                                                                        • Abuse, accident, acts of God, or other events beyond the control of PCNA, competition,
     • To carry passengers and cargo within specified load limits. (The load limits are
                                                                                                          racing, or track use.
       specified on labels located in different places depending on your model Porsche. Your
                                                                                                        • Tires damaged by premature wear.					
       Owner’s Manual gives the locations.)
                                                                                                          Note: Porsche’s race-bred heritage demands that tires are an integral part of the
     • To be driven on reasonable road surfaces within legal speed limits. Porsche Guidelines
                                                                                                          vehicle suspension, braking, and active safety systems. As a result, all Porsche vehicles
       specify reasonable mileage to be at least 15 miles / 24 kilometers per day or 6000
                                                                                                          are equipped with tires designed for higher performance than those found on other
       miles / 9600 kilometers per rolling 12 months.
                                                                                                          passenger vehicles. While tire wear varies with vehicle operation, high performance
     • If you do not plan to drive your Taycan regularly, or plan not to drive it for several weeks,
                                                                                                          tires like these are designed to assist the vehicle’s suspension in delivering increased
        it is recommended that the vehicle be left plugged into the home charger when not




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 cornering forces and better handling. They may exhibit increased wear characteristics        This Warranty Does Not Cover:
 when compared to tires on other passenger vehicles. Consult your Owner’s Manual for          • Rusting of the outside of the underbody (floor pan) or any other part of the car except
 information concerning the proper care and selection of your tires. Refer to the Porsche        body panels.
 Tire Information Guide for additional information.                                           • Rusting of body panels that were replaced, repaired, or refinished after the car was
•Y
  our vehicle is a mechanical device. All mechanical devices make some sort of noise            first sold at retail, other than genuine Porsche parts supplied by an authorized Porsche
 and/or vibration, and those noises and vibrations can differ from vehicle to vehicle.           dealer.
 PCNA recognizes those noises as normal and characteristic of the product. Normal             • Body panel rust caused by abuse or lack of maintenance.
 noises or vibrations as determined by PCNA can be anything from brake squeal to road         • Improper paint/accident repair.
 vibration. Therefore, normal noise and/or vibration and/or deterioration as deter-           • Environmental damage such as that caused by acid rain or other industrial pollution,
 mined by PCNA or its representative is not covered by our warranty.                             insect or bird droppings, tree sap, stones or other flying objects, highway maintenance
                                                                                                 chemicals, flood, storm, and other forms of disaster.
Your Responsibility for Using Appropriate Replacement Parts                                   • Accident, acts of God, or other events beyond the control of PCNA, collision damage,
PCNA recommends only the use of parts supplied by PCNA. The use of replacement                  abuse or repairs.
parts not supplied by PCNA may void some or all of your car’s limited new car warranty.       • Paint matching. (PCNA reserves the sole right to decide whether painting the repaired
If a replacement part that PCNA did not supply is used in the maintenance, repair or             or replaced panel to match the original finish is practicable. PCNA will not, under any
modification of your car, and an authorized Porsche representative determines it is              circumstances, pay for painting the entire car solely for paint color matching.)
defective or not equivalent to the original part, your claim for warranty repair or some or   • Unauthorized modifications or vehicles with salvage titles.
all of your car’s limited new car warranty may be voided.
                                                                                              To Get Warranty Service
To Get Warranty Service                                                                       You must take your Porsche vehicle to an authorized Porsche dealer during normal
The defective part, or the car in which it is installed, must be returned by the purchaser    service hours.
to an authorized Porsche dealer during normal service hours. You must provide a receipt
that shows proof of purchase for the part, as well as the installation date and the           If you cannot get warranty service, or you are dissatisfied with the service or with a
mileage at the time of installation. If the car is not driveable because of a defect in the   warranty decision, refer to the customer information section in this Booklet.
workmanship or materials covered by this warranty, call the nearest authorized Porsche
dealer for assistance.                                                                        Your Responsibility for Maintenance
                                                                                              You must maintain your Porsche vehicle according to the Appearance Care and the Car
If you cannot get warranty service, or you are dissatisfied with the service or with a        Care Instructions in the Owner’s Manual.
warranty decision, refer to the Customer Information section in this Booklet.
                                                                                              Your Responsibility for Normal Vehicle Use
                                                                                              Your Owner’s Manual (which includes specific recommendations against using your car in
                                                                                              certain ways) was written with the assumption that you will use your car only in ways for
                                                                                              which it was designed:
                                                                                              • To be properly maintained according to the Maintenance Schedule in the Maintenance
                                                                                                Booklet and Car Care Instructions in the Owner’s Manual.




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                         Customer Information


    Please read this document. It contains important information for
         resolving your Porsche vehicle concerns and disputes.




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 Owner Satisfaction
 Thank you for your purchase! We at PCNA are dedicated to providing you with a              If you feel that a decision made by the Porsche Customer Relations Staff is not
 Porsche vehicle which is up to our high quality standards so that you might enjoy          appropriate, you may:
 driving in its finest form.
                                                                                            4. Request a review by Porsche’s alternative dispute resolution program. We have
 It is very important to us that you are satisfied with your Porsche vehicle. Authorized    established this program because we want you to feel that you have been treated
 Porsche dealers are trained to help you. Generally, any problems can be solved most        fairly.
 effectively by speaking with dealership personnel.

                                                                                            PCNA provides an alternate dispute resolution mechanism through CAP-Motors,
 We realize that misunderstandings may occur, questions may be left unanswered, or
                                                                                            administered through DeMars & Associates, Ltd. A brief description of the
 expectations may not be met completely.
                                                                                            program is on page 1 of this booklet. CAP-Motors may be reached at 1 (800)
 We suggest following this step by step procedure to resolve your concerns:                 279-5343.


 1. Take your issue to the authorized Porsche dealership’s Service Manager. He/She is the   Should you have any concerns or questions regarding your Porsche automobile
 person in charge of the Service Department. Attempt to resolve your concerns there
                                                                                            after you have contacted your local Porsche dealer, please contact Porsche's
 first. Normally, any misunderstandings can be
                                                                                            Customer Relations department, which you may call, toll-free at 1-(800)-
 resolved by involving the appropriate dealership department manager.                       PORSCHE or:

 If you are still not satisfied and if you feel further review is required,
                                                                                                         Porsche Cars North America, Inc.
 2. Arrange to speak with the General Manager. He/She is directly responsible for the                    Attn. Customer Relations
 entire dealership.                                                                                      One Porsche Drive
                                                                                                         Atlanta, Georgia 30354
 3. In the event that you brought your vehicle in to an authorized Porsche dealer on
 two or more occasions for the same problem and the problem has not been repaired,
 contact Porsche Customer Relations at 1-(800)-PORSCHE.




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Porsche Owners Arbitration Information

To Our Customers:                                                                          What types of disputes are eligible?
                                                                                           CAP-Motors arbitrates disputes involving Porsche’s product reliability or warranty
PCNA has a commitment to you and your satisfaction. From your first phone call or visit    performance concerning your Porsche vehicle.
to the dealership, through the purchase and delivery of your new Porsche vehicle, and
to aftersales service, your satisfaction is our number one objective.                      You must file a request for mediation/arbitration with CAP-Motors within the time
                                                                                           period for pursuing a claim under the applicable state motor vehicle warranty law,
If you should experience a problem which has not been resolved to your satisfaction        provided the concern or alleged defect was brought to the attention of PCNA or one of
through Porsche’s authorized dealers or Customer Relations Department, additional          its dealers during the eligibility period.
assistance may be available through the CAP-Motors customer arbitration program.
                                                                                           How does the arbitration process work?
CAP-Motors will attempt to resolve your complaint by serving as an intermediary            When you contact CAP-Motors, your claim will be forwarded to PCNA for response.
between you and PCNA. If that does not resolve your dispute and your claim is eligible     If your claim is eligible for arbitration, an in-person arbitration hearing will be held
for arbitration, you may present your case to an arbitrator who will render a decision     at a mutually agreed upon date and time.
about your claim. CAP-Motors’ decision is binding on PCNA but not on you.
                                                                                           All relevant evidence will be admissible at the hearing. You and PCNA will be allowed to
What is CAP-Motors?                                                                        present each side of the dispute to the arbitrator. Both parties will be allotted sufficient
CAP-Motors is an independent third party dispute resolution mechanism, administered        time to give testimony and provide documents. Then you and Porsche will be given
by DeMars & Associates, Ltd. The CAP-Motors program resolves individual disputes           additional time for rebuttal. The arbitrator will render a decision within 10 business days
involving Porsche’s product reliability or warranty performance concerning your Porsche    of the hearing.
vehicle. CAP-Motors staff is trained to gather information pertinent to your dispute. If
appropriate, an independent technical expert will inspect your vehicle and a volunteer
CAP-Motors arbitrator will render a decision with respect to your dispute.




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 How long is the arbitration process?                                                     You will need to provide the following information:
 The entire process, from the time CAP-Motors receives your request for
 mediation/arbitration to the arbitrator’s decision, is designed to take no more          S Name and address.
 than 40 days. In some cases a decision may be delayed because of:                         S Vehicle year, make, model, vehicle identification number (VIN), mileage, and date
                                                                                                 of purchase.
                                                                                            S Copy of your sales contract.
  S Your failure to provide certain information required by CAP-Motors.                      S A brief description of your complaint and the actions you have taken to resolve it.
 S Your failure to contact PCNA about your dispute before requesting                          S Enclose copies of invoices with your request for arbitration if you are seeking
    arbitration.                                                                                 reimbursement for repairs or related incidental expenses.
                                                                                               S Enclose a copy of your vehicle registration.
 How much will it cost?                                                                   S What action or remedy would resolve your problem.
 There is no charge to you for submitting your dispute to CAP-Motors. You may obtain
 copies of your case from CAP-Motors for a nominal fee.
                                                                                          What types of decisions are rendered, and how do I know if PCNA will abide by the
 WHEN TO USE THE CAP-MOTORS CUSTOMER ARBITRATION PROGRAM: You must
                                                                                          CAP-Motors decision?
 use CAP-MOTORS if you are required to do so prior to seeking remedies available under
 the “Lemon Law” of your state. See the appropriate page in this booklet for specific     CAP-Motors arbitrators base their decisions on what they believe to be fair and
 requirements applicable in your state. However, if your state law permits, you are not   appropriate under the circumstances, and what could be awarded under applicable
 required to use CAP-MOTORS although that option is still available to you.               law. Remedies include, but are not limited to, repairs, reimbursement for repair or
                                                                                          incidental expenses, such as towing costs, or replacement or repurchase of your
 How to request arbitration?                                                              vehicle if the claim qualifies under the applicable “Lemon Law”. CAP-Motors’ decision
 You may file a claim at any time by contacting CAP-Motors at the following toll-free     is binding on Porsche, but not on you, the customer. Porsche must comply with the
 number: 1 (800) 279-5343. For further information, you may also write to:                decision within 30 days after it is accepted by you.

 Consumer Arbitration Program for Motor Vehicles                                          CAP-Motors will contact you within 10 working days of scheduled performance to
 P. O. Box 925                                                                            ensure that PCNA has complied with the decision in a timely manner.
 Haslet, TX 76052-0925
 1 (800) 279-5343.




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Are there limits on the scope of the CAP-Motors decision?
CAP-Motors decisions will not include: Attorney Fees; Punitive Damages; Multiple
                                                                                        General Information
Damages; or Consequential Damages, unless state laws require.
                                                                                        Consumer - State/Laws
What other recourse do I have available?                                                Some states have passed laws which give new car buyers certain rights. Although these
If you are dissatisfied with the arbitrator’s decision or PCNA’s performance, you may   laws vary from state to state, they generally require that if a new car has a major defect
pursue any other legal remedies which you may have, including small claims court. You   (e.g., one that substantially impairs its use, value, or safety which cannot be repaired in a
should be aware that the arbitration findings may be admissible as evidence in any      reasonable time, the owner can request a replacement or a refund. Usually, the defect
subsequent legal proceedings concerning your dispute. This description of the CAP-      must occur within the first year. The repair attempts or days out of service and time
Motors program is based upon the program at the time of publication. The program is     period vary depending on your state’s law. Refer to your respective state listing on the
subject to change without further notice. Contact CAP-Motors directly for the most      following pages for additional information.
current information concerning the Customer Arbitration Program.
                                                                                        There may be other considerations and terms in these laws. We recommend that you
                                                                                        check your own state law if the need arises. Further notices for various states are
                                                                                        contained later in this booklet. Our intent is for you to be satisfied with your Porsche
                                                                                        vehicle. If you have any questions or problems, please contact your authorized
                                                                                        Porsche dealer first, then Porsche Customer Relations at 1-800-PORSCHE.

                                                                                        Dispute Resolution
                                                                                        Generally, before making a request for a replacement or refund, we encourage the owner
                                                                                        to submit a written explanation of the problem to Porsche Customer Relations and give
                                                                                        the dealer and PCNA an opportunity to resolve it. If we are not successful, you may ask
                                                                                        to submit the dispute to the CAP-Motors arbitration program. See the address and
                                                                                        telephone number listed on page 32 of this booklet for information on how to submit
                                                                                        your dispute to this program.




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 Bring Your Car in for Service
 Always carry this Warranty Booklet, the Emissions Parts Warranty Brochure and your        Notice To All Consumers
 Maintenance Booklet with you when you take your Porsche vehicle to an authorized          Porsche Cars North America, Inc. (PCNA) is proud of its commitment to quality
 dealer for service. The Booklets provide the dealer service staff with the information    and workmanship, and most important of all, customer satisfaction.
 they need and enable them to record each service which is vital to proper warranty
 decision making.                                                                          The statements applicable to specific states are contained, alphabetically by the state,
                                                                                           in this section. If you reside in one of the states listed below, we encourage you to
 Selling Your Porsche Vehicle                                                              review the information provided.
 If you sell your Porsche vehicle, the Owner’s Manual, Warranty, and Maintenance
 Booklets should be left in the vehicle to make all operating safety and maintenance
 information available to the next owner.                                                  California                     Maine                          Ohio
                                                                                           Colorado                       Maryland                       Pennsylvania
 Address Changes                                                                           Connecticut                    Massachusetts                  Rhode Island
 If you change your address, or if you bought this Porsche vehicle used, be sure to send
                                                                                           Florida                        Minnesota                      South Carolina
 in a Notice of Address Change/Notice of Used Car Purchase postcard. This card can be
                                                                                           Georgia                        Montana                        Tennessee
 found at the back of this booklet or obtained from any authorized Porsche dealer. You
 may also write to us directly at the address on the inside front cover of this booklet.   Hawaii                         New Hampshire                  Texas
                                                                                           Illinois                       New Jersey                     Vermont
                                                                                           Indiana                        New Mexico                     Virginia
                                                                                           Iowa                           New York                       West Virginia
                                                                                           Kansas                         North Carolina                 Wisconsin


                                                                                           Should you experience a problem with your Porsche vehicle, we recommend that you
                                                                                           follow the steps listed in the Owner Satisfaction section and review the information
                                                                                           on your specific state as these steps will provide the quickest and fairest solution.
                                                                                           Most of all, be assured that PCNA is committed to making your ownership experience
                                                                                           as satisfying as the Porsche driving experience.




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Notice to Consumers
State of California
We at PCNA are proud of our commitment to quality and workmanship, and you, our
customer.

1. PCNA utilizes the California Consumer Arbitration for Motor Vehicles Program (CA/          5. CA/CAP-Motors staff may try to help resolve your dispute through me-diation. If
   CAP-Motors), administered by DeMars & Associates, Ltd., a nationally recognized,              mediation is not successful, or you do not wish to participate in mediation, claims
   independent third party mediation/arbitration administrator (P. O. Box 925, Haslet,           within the program’s jurisdiction may be presented to an arbitrator at an informal
   TX 76052-0925). CA/CAP-Motors and PCNA have been certified by the Arbitration                 hearing. The arbitrator’s decision should ordinarily be issued within 40 days from the
   Certification Program of the California Department of Consumer Affairs.                       time your complaint is filed; there may be a delay of seven days if you did not first
2. If you have a problem arising under a PCNA written warranty, we encourage you to              contact PORSCHE about your problem, or a delay of up to 30 days if the arbitrator
   bring it to our attention. If we are unable to resolve it, you may file a claim with CA/      requests an inspection/report by an impartial technical expert or further investigation
   CAP-Motors. Claims must be filed with CA/CAP-Motors within six (6) months after               and report by CA/CAP-Motors.
   the expiration of the warranty.                                                            6. California Civil Code Section 1793.2(d) requires that if PCNA or its representative is
3. To file a claim with CA/CAP-Motors, call 1 (800) 279-5343. There is no charge for             unable to repair a new motor vehicle to conform to the vehicle’s applicable express
   the call.                                                                                     warranty after a reasonable number of attempts, PCNA may be required to replace or
4. In order to file a claim with CA/CAP-Motors, you will have to provide your name and           repurchase the vehicle. California Civil Code Section 1793.22(b) creates a
   address, the brand name and vehicle identification number                                     presumption that PCNA has had a reasonable number of attempts to conform the
   (VIN) of your vehicle, and a statement of the nature of your problem or complaint.
                                                                                                 vehicle to its applicable express warranties if, within 18 months from delivery to the
   You will also be asked to provide the approximate date of your acquisition of the
   vehicle, the vehicle’s mileage, the approximate date and mileage at the time any              buyer or 18,000 miles on the vehicle’s odometer, whichever occurs first:
   problem(s) were first brought to the attention of PCNA or one of our Porsche
   dealers, and a statement of the relief you are seeking.




                                                                                                                                                                                       23
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     1) t h e s a m e n o n c o nf or mit y ( a f ail ur e t o c o nf or m t o t h e writt e n w arr a nt y t h at              7. T h e f oll o wi n g r e m e di e s m a y b e s o u g ht t hr o u g h C A / C A P - M ot or s: r e p air s,
     s u b st a nti all y i m p air s t h e u s e, v al u e, or s af et y of t h e v e hi cl e) h a s b e e n s u bj e ct           r ei m b ur s e m e nt f or m o n e y p ai d t o r e p air a v e hi cl e or ot h er e x p e n s e s i n c urr e d a s
     t o r e p air f o ur or m or e ti m e s b y P O R S C H E or it s r e pr e s e nt ati v e s, a n d t h e                       r e s ult of a v e hi cl e n o n c o nf or mit y, r e p ur c h a s e or r e pl a c e m e nt of y o ur v e hi cl e, a n d
     b u y er or l e s s e e h a s at l e a st o n c e dir e ctl y n otifi e d P O R S C H E of t h e n e e d f or                  c o m p e n s ati o n f or d a m a g e s a n d r e m e di e s a v ail a bl e u n d er P O R S C H E’ s writt e n
     r e p air of t h e n o n c o nf or mit y; or, 2) t h e s a m e n o n c o nf or mit y r e s ult s i n a                         w arr a nt y or a p pli c a bl e l a w.
     c o n diti o n t h at i s li k el y t o c a u s e d e at h or s eri o u s b o dil y i nj ur y if t h e v e hi cl e i s     8. T h e f oll o wi n g r e m e di e s m a y n ot b e s o u g ht t hr o u g h C A / C A P - M ot or s: p u niti v e or
     dri v e n, a n d t h e n o n c o nf or mit y h a s b e e n a s u bj e ct of r e p air t w o or m or e ti m e s                 m ulti pl e d a m a g e s, att or n e y’ s f e e s, or c o n s e q u e nti al d a m a g e s ot h er t h a n a s
     b y P O R S C H E or it s a g e nt, a n d t h e b u y er or l e s s e e h a s at l e a st o n c e dir e ctl y                  pr o vi d e d i n C alif or ni a Ci vil C o d e S e cti o n 1 7 9 4( a) a n d ( b).
     n otifi e d P O R S C H E of t h e n e e d f or r e p air of t h e n o n c o nf or mit y; or, 3) t h e                     9. Y o u m a y r ej e ct t h e d e ci si o n i s s u e d b y a n C A / C A P - M ot or s ar bitr at or. If y o u r ej e ct
     v e hi cl e i s o ut of s er vi c e b y r e a s o n of t h e r e p air of n o n c o nf or miti e s b y                         t h e d e ci si o n, y o u will b e fr e e t o p ur s u e f urt h er l e g al a cti o n. T h e ar bitr at or’ s
     P O R S C H E or it s a g e nt s f or a c u m ul ati v e t ot al of m or e t h a n 3 0 c al e n d ar d a y s                   d e ci si o n a n d a n y fi n di n g s will b e a d mi s si bl e i n a c o urt a cti o n.
     aft er d eli v er y of t h e v e hi cl e t o t h e b u y er or l e s s e e. N oti c e t o P or s c h e a s               1 0. If y o u a c c e pt t h e ar bitr at or’ s d e ci si o n, P O R S C H E will b e b o u n d b y t h e d e ci si o n,
     r e q uir e d a b o v e s h all b e s e nt t o t h e f oll o wi n g a d dr e s s:                                              a n d will c o m pl y wit h t h e d e ci si o n wit hi n a r e a s o n a bl e ti m e n ot t o e x c e e d 3 0 d a y s
                                                                                                                                    aft er w e r e c ei v e n oti c e of y o ur a c c e pt a n c e of t h e d e ci si o n.
                                                                                                                              1 1. Pl e a s e c all C A / C A P - M ot or s f or f urt h er d et ail s a b o ut t h e pr o gr a m.
               P O R S C H E C A R S N O R T H A M E RI C A, I N C.
               Att n: C u st o m er R el ati o n s
               O n e P or s c h e Dri v e
               Atl a nt a, G e or gi a 3 0 3 5 4




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Notice to Consumers
State of Colorado
We at PCNA are proud of our commitment to quality and workmanship, and you, our
customer.

If you should have any concerns or questions regarding your Porsche vehicle after
you have contacted your local Porsche dealer, please contact the Porsche Corporate
Office located at:



              PORSCHE CARS NORTH AMERICA, INC.
              Attn: Customer Relations
              One Porsche Drive
              Atlanta, Georgia 30354


On July 1, 1984, a law that defines consumers’ rights under the new vehicle
warranty became effective in the State of Colorado.

In order to exercise your rights under this law, you must notify PORSCHE CARS
NORTH AMERICA, INC., in writing by certified mail.

We have enclosed a notification form on the following page to assist you in
contacting PORSCHE CARS NORTH AMERICA, INC.




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Notification to Porsche Cars North America, Inc.
State of Colorado
Name: ______________________________________________________                 S Number of times the dealer has attempted to repair the same condition:

                                                                               ____________
Address:_____________________________________________________
          (street                                                            S Description of condition:
______________ ______________________________________________
(city                         (state              (zip                         __________________________________________________________

Phone:___________________________________________________                      __________________________________________________________
                             (home
                                                                               __________________________________________________________
____________________________________________________________
                           (business
                                                                               __________________________________________________________
Email:__________________________@___________________________
                                                                               __________________________________________________________

Vehicle Information: ____________________________ _____________                __________________________________________________________
                               (model)                 (year)
                                                                               __________________________________________________________
VIN Number:_________________________________________________

S Date of Purchase:__________________________

S Mileage: ___________________________

Servicing Dealer:_____________________________________________

S Number of days vehicle has been out of service: _________________




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 This form must be sent via Certified Mail to:




 Porsche Cars North America, Inc.
 Attn: Customer Relations
 One Porsche Drive
 Atlanta, Georgia 30354




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Notice to Consumers
State of Connecticut
We at PCNA are proud of our commitment to quality and workmanship, and you, our
customer.

If the new motor vehicle you have purchased does not conform to the manufacturer’s
express warranty, you may be entitled under state law to a replacement or
compensation. However, IN ORDER TO EXERCISE YOUR RIGHTS, YOU MUST FIRST
REPORT THE CONDITION IN WRITING TO PORSCHE CARS NORTH AMERICA, INC. AT
ONE PORSCHE DR., ATLANTA, GEORGIA, 30354, ATTN: CUSTOMER RELATIONS
DEPARTMENT.

PORSCHE CARS NORTH AMERICA, INC., offers its customers third party arbitration
through CAP-Motors, administered by DeMars & Associates, Ltd., a complaint
resolution service.

For additional information about CAP-Motors, review page 1 of this booklet, or contact
CAP-Motors directly at the address or toll-free telephone number also found on page 1.




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     Notice to Consumers
     State of Florida
     We at PCNA are proud of our commitment to quality and workmanship, and you, our
     customer.

     If the new motor vehicle you have purchased or leased does not conform to the
     manufacturer’s express warranty, you may be entitled under the Florida Motor Vehicle
     Warranty Enforcement Act to a replacement or refund.

     TO EXERCISE YOUR RIGHTS, YOU FIRST MUST NOTIFY: PORSCHE CARS NORTH
     AMERICA, INC., ONE PORSCHE DR., ATLANTA, GEORGIA, 30354, ATTN: CUSTOMER
     RELATIONS, BY CERTIFIED OR EXPRESS MAIL of the need to repair the defect or
     condition. The MOTOR VEHICLE DEFECT NOTIFICATION FORM is provided to you in the
     pamphlet “Consumer Guide to the Florida Lemon Law” found in the glove compartment
     of your vehicle and mailed to you by the State of Florida.

     YOU MUST USE CAP-MOTORS, THE CUSTOMER ARBITRATION PROGRAM,
     ADMINISTERED BY DEMARS & ASSOCIATES, LTD., PRIOR TO SEEKING REMEDIES
     AVAILABLE UNDER FLORIDA MOTOR VEHICLE WARRANTY ENFORCEMENT ACT.

     For additional information about CAP-Motors, review page 6 of this booklet, or contact
     CAP-Motors directly at the address or toll-free telephone number found on page 1 of
     this booklet.




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Notice to Consumers
State of Georgia
We at PCNA are proud of our commitment to quality and workmanship, and you, our
customer.

If this vehicle does not conform to its applicable warranties and Porsche Cars North
America, Inc., or its dealers have not repaired the vehicle after a reasonable number of
repair attempts, or the vehicle has been out of service for a specified number of days,
you may be entitled under the provisions of the Georgia "Lemon Law" to a replacement
or repurchase of the vehicle. CAP-Motors is a third-party arbitration service.

For additional information about arbitration, review page 1 of this booklet, or contact
CAP-Motors directly at the address or toll-free number indicated on page 2 of this
booklet.

In addition, in order to seek remedies under your state Lemon Law, you must first:


1)Notify Porsche Cars North America, Inc. by certified mail, return receipt
requested, of the problem with your vehicle, and
2) Provide Porsche Cars North America, Inc. an opportunity to repair it.

Should you have any concerns or questions regarding your Porsche vehicle after you
have contacted your local Porsche dealer, please contact Porsche Cars North
America, Inc. at the address or toll-free telephone number indicated on the inside
front cover of this booklet.

In order to exercise your rights under this law, you must notify Porsche Cars North
America, Inc. in writing by certified mail.




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 Notice to Consumers
 State of Hawaii
 We at PCNA are proud of our commitment to quality and workmanship, and you, our
 customer.


 If the new motor vehicle you have purchased or leased does not conform to the
 manufacturer’s express warranty, you may be entitled under the laws of the State of
 Hawaii to a replacement or refund.

 However, in order to exercise your rights, you must first report the condition in writing
 Porsche Cars North America, Inc. Before you may bring any action in a court, you must
 first resort to the informal dispute resolution mechanism provided by the state of
 Hawaii.




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Notice to Consumers
State of Illinois
We at PCNA are proud of our commitment to quality and workmanship, and you, our
customer.

If the new motor vehicle you have purchased does not conform to the manufacturer’s
express warranty, you may be entitled to a replacement or refund under the Illinois
New-Car Buyer Protection Act.

If, during one (1) year following delivery or 12,000 miles of use, whichever occurs first,
there have been four or more unsuccessful attempts to repair the same nonconformity,
or the vehicle has been out of service for repair of nonconformities for a total of thirty
(30) or more business days, you may be entitled to a new (or comparable) replacement
vehicle or, upon return of the car, to a refund of the full purchase price including all
collateral charges, less an allowance for your actual use.

IN ORDER TO EXERCISE THESE LEGAL RIGHTS, YOU MUST FIRST REPORT THE
CONDITION IN WRITING TO PORSCHE CARS NORTH AMERICA, INC., AND PROVIDE
PORSCHE CARS NORTH AMERICA, INC. WITH AN OPPORTUNITY TO CORRECT THE
ALLEGED DEFECT.




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 Notice to Consumers
 State of Indiana
 We at PCNA are proud of our commitment to quality and workmanship, and you, our
 customer.

 If the new motor vehicle you have purchased does not conform to the manufacturer’s
 express warranty, you may be entitled under state law to a replacement or to
 compensation. However, IN ORDER TO EXERCISE YOUR RIGHTS, YOU MUST FIRST
 REPORT THE CONDITION IN WRITING TO PORSCHE CARS NORTH AMERICA, INC., AT
 THE ADDRESS INDICATED ON THE INSIDE FRONT COVER OF THIS BOOKLET.

 Porsche Cars North America, Inc., offers its customers third party arbitration through
 CAP-Motors, administered by DeMars & Associates, Ltd., a complaint resolution service.

 For additional information about CAP-Motors, review page 1 of this booklet, or contact
 CAP-Motors directly at the address or toll-free telephone number found on page 1 of
 this booklet.




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Notice to Consumers
State of Iowa
We at PCNA are proud of our commitment to quality and workmanship, and you, our      PORSCHE CARS NORTH AMERICA, INC., USES CAP-MOTORS, ADMINISTERED BY
customer.                                                                            DEMARS & ASSOCIATES, LTD., IN THE STATE OF IOWA. CONSUMERS WHO WISH TO
                                                                                     SEEK A REFUND OR REPLACEMENT UNDER IOWA‘S STATE LEMON LAW MUST
                                                                                     FIRST RESORT TO THIRD PARTY ARBITRATION THROUGH CAP-MOTORS. HOWEVER,
The purchaser of this new car is protected under the warranty provisions of Iowa
                                                                                     IF YOU CHOOSE TO SEEK REMEDIES WHICH ARE NOT CREATED BY EITHER THE
Statutes.
                                                                                     IOWA LEMON LAW OR THE MAGNUSON–MOSS WARRANTY ACT, YOU NEED NOT
                                                                                     USE CAP-MOTORS, ALTHOUGH THAT OPTION IS STILL AVAILABLE TO YOU.
“The purchaser or lessee of this vehicle is protected under the warranty of the
Warranty Provisions of 1991 Iowa Acts, House File 566, commonly referred to as the
"Lemon Law".


IF THIS VEHICLE FAILS TO CONFORM TO THE MANUFACTURER’S EXPRESS
WARRANTY DURING THE TERM OF THE WARRANTY, THE FIRST TWO YEARS OF
OWNERSHIP, OR THE FIRST 24,000 MILES, WHICHEVER EXPIRES FIRST, AND THE
NONCONFORMITY SUBSTANTIALLY IMPAIRS THE VEHICLE, YOU MAY QUALIFY FOR
A REFUND OR REPLACEMENT OF THIS VEHICLE. CONTACT THE MANUFACTURER
OF THE VEHICLE BY CERTIFIED, REGISTERED OR OVERNIGHT MAIL IF YOU BELIEVE
THE VEHICLE FAILS TO CONFORM TO THE MANUFACTURER’S EXPRESS
WARRANTY.

FOR FURTHER INFORMATION REGARDING YOUR RIGHTS AND OBLIGATIONS
UNDER THE LEMON LAW, CONTACT THE CONSUMER PROTECTION DIVISION OF
THE IOWA ATTORNEY GENERAL’S OFFICE AT: CONSUMER PROTECTION DIVISION,
1305 EAST WALNUT STREET, DES MOINES, IOWA 50319, OR TELEPHONE (515)
281-5926.

PORSCHE CARS NORTH AMERICA’S ADDRESS AND PHONE NUMBER
WHERE A CLAIM MAY BE FILED BY THE CONSUMER IS INDICATED ON THE INSIDE
FRONT COVER OF THIS BOOKLET.




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 Notice to Consumers
 State of Kansas
 We at PCNA are proud of our commitment to quality and workmanship, and you, our
 customer.

 If the new motor vehicle you have purchased or leased does not conform to the
 manufacturer’s express warranty, you may be entitled under state law to a replacement
 or refund.

 Porsche Cars North America, Inc. offers its customers third party arbitration through
 CAP-Motors, administered by DeMars & Associates, Ltd., a complaint resolution
 service. For additional information about CAP-Motors, review page 1 of this booklet, or
 contact CAP-Motors directly at the address or toll-free telephone number found on
 page 7 of this booklet.


 The seat belts in Porsche vehicles originally sold in the State of Kansas are covered
 under the New Vehicle Limited Warranty for a period of 10 years, regardless of mileage,
 when the repairs are performed by an Authorized Porsche Dealer in Kansas.


 Consumers who wish to seek a refund or replacement under Kansas Lemon Law, must
 first resort to third-party arbitration through CAP-Motors.




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Notice to Consumers
State of Maine
We at PCNA are proud of our commitment to quality and workmanship,
and you, our customer.

MAINE ATTORNEY GENERAL/LEMON LAW ARBITRATION IF YOU
HAVE A SERIOUS PROBLEM WITH THIS VEHICLE:


     The Maine Lemon Law (10 M.R.S.A.§§ 1161-1169) provides free Attorney                    For this vehicle, you should notify the Manufacturer or authorized Porsche
     General arbitration for consumer buyers or lessees whose motor vehicle                  dealer of the defects and the right to make a final repair. Mail to:
     (including motorcycles and motorized RVs) is seriously defective. Under the
     Maine Lemon Law, you may have a right to a refund or a replacement of the                        Porsche Cars North America, Inc.
     vehicle if the following applies:                                                                Customer Relations
                                                                                                      One Porsche Drive
                                                                                                      Atlanta, Georgia 30354

1. There is an unrepaired defect or combination of defects which substantially
   impairs the use, safety, or value of your vehicle; and
                                                                                             In order for provisions requiring refund or repurchase to apply you must
2. This unrepaired defect was reported to the dealer or manufacturer:                        resort to the manufacturer’s 16 C.F.R. Part 703 complaint program or to
          • During the manufacturer’s express warranty; and                                  the state-operated arbitration program.
          • Within the three year period following the delivery date of the vehicle to
             the original purchaser or lessee; and
          • During the first 18,000 miles of operation; and

3. The defect still exists or has recurred after:
             S   Three or more repair attempts for the same defect, or
               S One or more repair attempts for the serious failure of either the braking
                 or steering system; or
         S       Being out of service for repairs for a cumulative total of 15 or more
                 business days (for one or more defects); and
           S     The manufacturer had been given in writing a seven day Final
                 Opportunity to Repair.




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     The Attorney General’s state-run arbitration is different                           Telephone:   (207) 626-8849 or (800) 436-2131
     from any manufacturer sponsored program to which you
                                                                                                       (option 3)
     may also be entitled. Under the state Lemon Law
     program, you will receive a free hearing before a neutral                           Email:        lemon_law@maine.gov
     state Arbitrator and a decision within 45 days of                                                 consumer.mediation@maine.gov
                                                                                         OR
     acceptance of your Lemon Law application. If your vehicle is declared a Lemon,
     the manufacturer must refund your purchase price or replace the vehicle.                          http://www.maine.gov/ag
                                                                                         Internet:
     You must apply for state-run arbitration within three years after delivery to the
     original consumer and within the term of the manufacturer’s warranty.

     THIS CARD PROVIDES ONLY A SUMMARY OF THE MAINE LEMON LAW.

     To request arbitration, or to get further information, contact:

     The Attorney General’s Lemon Law Arbitration Program
     Consumer Protection Division
     6 State House Station,
     Augusta, ME 04333




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Notice to Consumers
State of Maryland
We at PCNA are proud of our commitment to quality and workmanship, and you,
our customer.

If your new Porsche vehicle does not conform to all applicable warranties during
the period, you must report the nonconformity or condition in writing to Porsche
Cars North America, Inc., AT THE ADDRESS ON THE INSIDE FRONT COVER OF
THIS BOOKLET BY certified mail, return receipt requested, and provide Porsche
with an opportunity to repair the vehicle.




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N oti c e t o C o n s u m er s
St at e of M a s s a c h u s ett s
W e at P C N A ar e pr o u d of o ur c o m mit m e nt t o q u alit y a n d w or k m a n s hi p, a n d y o u, o ur               I F T H E M A N U F A C T U R E R D O E S N O T R E F U N D O R R E P L A C E T H E V E HI C L E A F T E R
c u st o m er.                                                                                                                  T H E S E S T A N D A R D S H A V E B E E N M E T, Y O U H A V E T H E RI G H T T O
                                                                                                                                H A V E Y O U R C A S E A R BI T R A T E D B Y A S T A T E- C E R TI FI E D A R BI T R A T O R.
M A S S A C H U S E T T S “ L E M O N L A W” I N F O R M A TI O N. I F Y O U H A V E S E RI O U S
                                                                                                                                T hi s st at e –r u n ar bitr ati o n i s diff er e nt fr o m a n y m a n uf a ct ur er - s p o n s or e d pr o gr a m t o
P R O B L E M S WI T H T HI S V E HI C L E
                                                                                                                                w hi c h y o u m a y al s o b e e ntitl e d. U n d er t h e st at e pr o gr a m, y o u will r e c ei v e a d e ci si o n
                                                                                                                                wit hi n 4 5 d a y s of w h e n y o ur r e q u e st f or ar bitr ati o n i s a c c e pt e d.
T h e M a s s a c h u s ett s “ L e m o n L a w” G e n er al L a w C h a pt er 9 0, S e cti o n 7 N 1 / 2 pr o vi d e s
pr ot e cti o n f or c o n s u m er s w h o h a v e s eri o u s pr o bl e m s wit h t h eir n e w v e hi cl e.                  U n d er t h e l a w, y o u m u st r e q u e st st at e –r u n ar bitr ati o n wit hi n 1 8 m o nt h s of ori gi n al
                                                                                                                                d eli v er y of t h e v e hi cl e.
U N D E R T H E L E M O N L A W, Y O U M A Y H A V E T H E RI G H T T O A R E F U N D O R
R E P L A C E M E N T O F T H E V E HI C L E I F:                                                                               T HI S S H E E T P R O VI D E S O N L Y A S U M M A R Y O F Y O U R RI G H T S.

                                                                                                                                T o r e q u e st ar bitr ati o n, or t o g et i nf or m ati o n, c o nt a ct:


A. T h er e i s a d ef e ct( s), w hi c h s u b st a nti all y i m p air s t h e u s e, s af et y, or m ar k et v al u e of                   T h e Offi c e of C o n s u m er Aff air s a n d B u si n e s s R e g ul ati o n
   t h e v e hi cl e; A N D                                                                                                                   Att n: C o n s u m er H otli n e
                                                                                                                                              1 0 P ar k Pl az a S uit e 5 1 7 0
B. T h e d ef e ct( s) still e xi st s or h a s r e c urr e d aft er eit h er:                                                                B o st o n, M a s s a c h u s ett s 0 2 1 1 6

     1. t hr e e or m or e r e p air att e m pt s f or t h e s a m e d ef e ct, or
     2. b ei n g o ut of s er vi c e b y r e a s o n of a n y c o m bi n ati o n of d ef e ct s f or a c u m ul ati v e
         t ot al of 1 5 or m or e b u si n e s s d a y s, wit hi n o n e y e ar or 1 5, 0 0 0 mil e s ( w hi c h e v er
         c o m e s fir st) aft er ori gi n al d eli v er y; A N D
C. P or s c h e C ar s N ort h A m eri c a, I n c., h a s b e e n n otifi e d of t h e d ef e ct a n d gi v e n o n e fi n al
   r e p air att e m pt of n o m or e t h a n s e v e n b u si n e s s d a y s.




                                                                                                                                                                                                                                                             41
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Notice to Consumers
State of Minnesota

We at PCNA are proud of our commitment to quality and workmanship, and you, our
customer.

Important: If this Porsche vehicle is defective, you may be entitled under the state
lemon law to replacement of it or a refund of its purchase price or your lease
payments. However, to be entitled to refund or replacement, you must first notify
Porsche Cars North America, Inc., at the address or toll-free telephone number
indicated on the inside front cover of this booklet, its agent, or its authorized dealer of
the problem in writing and give them an opportunity to repair the vehicle. You also
have a right to submit your case to the consumer arbitration program mentioned on
page 6 of this booklet, which the manufacturer must offer in Minnesota.




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     Notice to Consumers
     State of Montana

     We at PCNA are proud of our commitment to quality and workmanship, and you, our
     customer.


     If this vehicle does not conform to its applicable warranties and Porsche or its dealers
     have not repaired the vehicle after a reasonable number of repair attempts or the vehicle
     has been out of service for a specified number of days, you may be entitled under the
     provisions of your state “Lemon Law” to a replacement or repurchase of the vehicle.

     Porsche Cars North America, Inc., offers its customers third-party arbitration through
     CAP-Motors, administered by DeMars & Associates, Ltd., a third-party complaint
     resolution service.

     For additional information about CAP-Motors, review page 6 of this booklet, or contact
     CAP-Motors directly at the address or toll-free telephone number found on page 7 of
     this booklet.

     In addition, in order to seek remedies under your state Lemon Law, you must first notify
     Porsche at the address shown on the inside front cover of this booklet, of the
     problem with your vehicle.

     Should you have any concerns or questions regarding your Porsche after you have
     contacted your local Porsche dealer, please contact Porsche Cars North America, Inc. at
     the toll-free number shown on the inside front cover of this booklet.




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     Notice to Consumers
     State of New Hampshire

     We at PCNA are proud of our commitment to quality and workmanship, and you, our            You may not use the New Hampshire Motor Vehicle Arbitration Program if you have
     customer.                                                                                  stopped making payments on any financing agreement because of the vehicle's
                                                                                                condition.
     The New Hampshire "Lemon Law," RSA 357-D, applies to new motor vehicles sold or
     leased (for two or more years) and registered in the State of New Hampshire. A new         The New Hampshire Motor Vehicle Arbitration Program includes other eligibility
     motor vehicle is defined as a passenger vehicle, motorcycle or truck with a gross          requirements which you must meet to qualify.
     vehicle weight not exceeding 9,000 pounds.
                                                                                                Forms for electing to proceed before the New Hampshire Motor Vehicle Arbitration
     If, during the express warranty period, you discover a defect which substantially          Board should be included with your new vehicle on delivery.
     impairs the use, market value, or safety of this vehicle, and it has not been
     successfully repaired after three repair attempts by the manufacturer, its agent, or       For information as to your rights under the Lemon Law or for additional forms, contact
     an authorized Porsche dealer, or it has been out of service by reason of repair of one     the New Hampshire Motor Vehicle Arbitration Board, 33 Hazen Drive, Concord, New
     or more nonconformities, defects, or conditions for a cumulative total of thirty (30)      Hampshire, 03305, email: lemonlaw@nh.gov, telephone: (603) 271-6383, or your
     business days, you may be entitled to apply for a comparable replacement or                dealer.
     reasonable allowance for use.

     In order for a repair attempt to qualify, you must obtain a written repair order.
     Neither the manufacturer nor any agent of the manufacturer (including the
     dealership service department) may refuse to provide you with a written repair order
     at your request. The vehicle is deemed to be out of service if it is in for repair for a
     majority of the day.




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Consumer Information                                                                                                          State of New Hampshire
Name:____________________________________________________________________________________________________
Address:__________________________________________________________________________________________________
City:_________________________________________________ State:__________________ Zip:___________________________
Telephone Number: (__________)_________________________ (where you can be reached during working hours)
Email:______________________________________@___________________________________________ ______________ ___

I Wish to Use: New Hampshire New Motor Vehicle Arbitration Board OR       Porsche Alternative Dispute Resolution Mechanism



NOTE: The selection of one of these programs precludes the use of the other.



                                                                         ____________________________                        ____________________________
                                                                         Signature                                           Date

Vehicle Information

VIN:        W P ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___

Brief Description of Consumer Concern:
____________________________________________________________________ ___________
____________________________________________________________________ ___________
____________________________________________________________________ ___________



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                                                                                     NO POSTAGE
                                                                                     NECESSARY
                                                                                      IF MAILED
                                                                                        IN THE
                                                                                    UNITED STATES




                          BUSINESS REPLY CARD
                          FIRST CLASS   PERMIT NO. 26231   ATLANTA, GA.

                               POSTAGE WILL BE PAID BY ADDRESSEE


                      Porsche Cars North America, Inc.
                      Attn: Customer Relations
                      One Porsche Drive
                      Atlanta, Georgia 30354-1654




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Notice to Consumers                                                                  Porsche Cars North America, Inc. offers its customers arbitration through CAP-Motors,
                                                                                     administered by DeMars & Associates, Ltd., a third-party complaint resolution service.
State of New Jersey
                                                                                     For additional information about CAP-Motors, review page 6 of this booklet, or contact
                                                                                     CAP-Motors directly at the address or toll-free telephone number found on page 7 of
We at PCNA are proud of our commitment to quality and workmanship, and you, our
                                                                                     this booklet.
customer.
IMPORTANT: If this Porsche vehicle is defective, you may be entitled under New       In addition, in order to seek remedies under your state Lemon Law, you must first notify
Jersey law to a refund of the purchase price or your lease payments. For complete    Porsche, by certified mail, return receipt requested, at the address shown on the inside
information regarding your rights and remedies under the relevant law, contact the   front cover of this booklet, of the problem with your vehicle.
New Jersey Department of Law and Public Safety, Division of Consumer Affairs,
Office of Consumer Protection, Lemon Law Unit at:
                                                                                     Should you have any concerns or questions regarding your Porsche vehicle after you
            P.O. Box 45026                                                           have contacted your local Porsche dealer, please contact Porsche Cars North America,
            Newark, New Jersey 07101                                                 Inc. at the toll-free number shown on the inside front cover of this booklet.
            Telephone (973) 504-6226 or
            1 (800) 242-5846




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 Notice to Consumers
 State of New Mexico
 We at PCNA are proud of our commitment to quality and workmanship, and you, our
 customer.

 If the new Porsche vehicle you have purchased does not conform to the
 manufacturer’s express warranty, you may be entitled under state law to a
 replacement or to compensation. However, in order to exercise your rights, you must
 first report the condition in writing to Porsche Cars North America, Inc., AT THE
 ADDRESS INDICATED ON THE INSIDE FRONT COVER OF THIS BOOKLET.




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Notice to Consumers
State of New York

We at PCNA are proud of our commitment to quality and workmanship, and you, our        5.   A MANUFACTURER MAY DENY LIABILITY AND MAY REFUSE TO EXCHANGE A
customer.                                                                                   COMPARABLE CAR OR REFUND YOUR PURCHASE PRICE IF THE PROBLEM IS
                                                                                            CAUSED BY ABUSE, NEGLECT, OR UNAUTHORIZED MODIFICATIONS OF THE
If the new Porsche vehicle you have purchased does not conform to the manufacturer’s
                                                                                            CAR.
express warranty, you may be entitled under state law to a replacement or to
compensation. However, in order to exercise your rights, YOU MUST FIRST REPORT         6.   A MANUFACTURER MAY DENY LIABILITY AND MAY REFUSE TO EXCHANGE A
THE CONDITION IN WRITING to PORSCHE CARS NORTH AMERICA, INC.                                COMPARABLE CAR OR REFUND YOUR PURCHASE PRICE IF THE PROBLEM
NEW CAR LEMON LAW BILL OF RIGHTS                                                            DOES NOT SUBSTANTIALLY IMPAIR THE VALUE OF YOUR CAR.
                                                                                       7.   IF A MANUFACTURER HAS ESTABLISHED AN ARBITRATION PROCEDURE, THE
1.   IN ADDITION TO ANY WARRANTIES OFFERED BY THE MANUFACTURER, YOUR                        MANUFACTURER MAY REFUSE TO EXCHANGE A COMPARABLE CAR OR
     NEW CAR IF EITHER PURCHASED, LEASED OR TRANSFERED IN NEW YORK                          REFUND YOUR PURCHASE PRICE UNTIL YOU FIRST RESORT TO THE
     STATE OR IS PRESENTLY REGISTERED IN NEW YORK STATE, AND IS USED                        PROCEDURE.
     PRIMARILY FOR PERSONAL PURPOSES, IS WARRANTED AGAINST ALL
                                                                                       8.   IF THE MANUFACTURER DOES NOT HAVE AN ARBITRATION PROCEDURE, YOU
     MATERIAL DEFECTS FOR EIGHTEEN THOUSAND MILES OR TWO YEARS,
                                                                                            MAY RESORT TO ANY REMEDY BY LAW AND MAY BE ENTITLED TO YOUR
     WHICHEVER COMES FIRST.
                                                                                            ATTORNEY’S FEES IF YOU PREVAIL.
2.   YOU MUST REPORT ANY PROBLEMS TO THE MANUFACTURER, ITS AGENT, OR
     AUTHORIZED DEALER. REPORT THE CONDITION, IN WRITING, TO PORSCHE                   9. NOCONTRACTORAGREEMENTCANVOIDANYOFTHESERIGHTS.
     CARS NORTH AMERICA, INC. AT THE ADDRESS INDICATED ON THE INSIDE                   10. AS AN ALTERNATIVE TO THE ARBITRATION PROCEDURE MADE AVAILABLE
     COVER OF THIS BOOKLET.                                                                THROUGH THE MANUFACTURER, YOU MAY INSTEAD CHOOSE TO SUBMIT
                                                                                           YOUR CLAIM TO AN INDEPENDENT ARBITRATOR, APPROVED BY THE
3.   UPON NOTIFICATION, THE PROBLEM MUST BE CORRECTED FREE OF CHARGE.
                                                                                           ATTORNEY GENERAL. YOU MAY HAVE TO PAY A FEE FOR SUCH AN
4.   IF THE SAME PROBLEM CANNOT BE REPAIRED AFTER FOUR OR MORE
                                                                                           ARBITRATION. CONTACT YOUR LOCAL CONSUMER OFFICE OR ATTORNEY
     ATTEMPTS, OR IF YOUR CAR IS OUT OF SERVICE TO REPAIR A PROBLEM FOR A
                                                                                           GENERAL’S OFFICE TO FIND OUT HOW TO ARRANGE FOR INDEPENDENT
     TOTAL OF THIRTY DAYS DURING THE WARRANTY PERIOD, YOU MAY BE
                                                                                           ARBITRATION.
     ENTITLED TO EITHER A COMPARABLE CAR OR A REFUND OF YOUR PURCHASE
     PRICE, PLUS LICENSE AND REGISTRATION FEES, MINUS A MILEAGE
     ALLOWANCE ONLY IF THE VEHICLE HAS BEEN DRIVEN MORE THAN 12,000
     MILES.




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     Notice to Consumers
     State of North Carolina
     We at PCNA are proud of our commitment to quality and workmanship, and you, our
     customer.

     If the new Porsche vehicle you have purchased does not conform to the manufacturer’s
     express warranty, you may be entitled under state law to a replacement or to
     compensation. However, IN ORDER TO EXERCISE YOUR RIGHTS, YOU MUST FIRST
     REPORT THE CONDITION IN WRITING TO PORSCHE CARS NORTH AMERICA, INC., AT
     THE ADDRESS INDICATED ON THE INSIDE FRONT COVER OF THIS BOOKLET. If your
     vehicle has been inspected by the Dealer and your concern is still not corrected to your
     satisfaction, Porsche Cars North America, Inc. recommends that you contact 1-800-
     PORSCHE for assistance.

     BEFORE YOU MAY BRING ANY ACTION IN A COURT, YOU MUST RESORT TO
     PORSCHE CARS NORTH AMERICA, INC.’S INFORMAL DISPUTE RESOLUTION
     MECHANISM IDENTIFIED AT THE ADDRESS OR TELEPHONE NUMBER INDICATED ON
     PAGE 6 OF THIS BOOKLET.




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Notice to Consumers
State of Ohio
We at PCNA are proud of our commitment to quality and workmanship, and you, our            CAP-Motors staff may try to help resolve your dispute through mediation. If mediation
customer.                                                                                  is not successful, or if you do not wish to participate in mediation, eligible consumers
                                                                                           may present their case to an impartial third party arbitrator at an informal hearing.
IMPORTANT: IF THIS VEHICLE IS DEFECTIVE, YOU MAY BE ENTITLED UNDER STATE                   Within 40 days after you file your case, the arbitrator will render a decision that you
LAW TO A REPLACEMENT OR TO COMPENSATION.                                                   may accept or reject. Porsche will be bound to the decision if you accept it.

NOTICE:
                                                                                           Call CAP-Motors to file a claim or to receive more information as to what claims are
OHIO LAW REQUIRES YOU TO USE A QUALIFIED ARBITRATION PROGRAM BEFORE
SUING THE MANUFACTURER OVER NEW CAR WARRANTY DISPUTES. FAILURE TO                          eligible. There is no charge for the call.
ARBITRATE YOUR CLAIM MAY PRECLUDE YOU FROM MAINTAINING A LAWSUIT
UNDER SECTION 1345.75 OF THE REVISED CODE.                                                 Further information about CAP-Motors program may be found on page 35 of this
                                                                                           booklet.
Porsche Cars North America, Inc. participates in CAP-Motors, administered by DeMars
& Associates, Ltd., a dispute resolution program (P. O. Box 925, Haslet, TX
76052-0925, Tel.: (800) 279-5343). CAP-Motors has been approved by the Ohio
Attorney General as a qualified arbitration program under Section 1345.71 et seq. of
the Ohio Revised Code.

If you have a problem arising under a Porsche new vehicle warranty, we encourage you
to bring it to our attention. This step is optional and may be terminated at any time by
you or Porsche. If we are unable to resolve it, you may be eligible to file a claim with
CAP-Motors.




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 Notice to Consumers
 State of Pennsylvania
 We at PCNA are proud of our commitment to quality and workmanship, and you, our                  The authorized Porsche dealer must provide you with an itemized statement of all
 customer.                                                                                        repair work performed when your vehicle is returned from service. Keep those records
                                                                                                  for future reference.
 If the new Porsche vehicle you have purchased does not conform to the manufacturer’s
 express warranty, the Pennsylvania Automobile Lemon Law provides that Porsche Cars               For more information, contact the Office of Attorney General, Bureau of Consumer
 North America, Inc. may have to replace it or pay you a refund, at your option.                  Protection, Strawberry Square, 14th Floor, Harrisburg, PA 17120, Telephone: (717)
                                                                                                  787-3391. If you should have any questions concerning your Porsche vehicle, please
 If you discover a defect that substantially impairs the use, value, or safety of this vehicle,
                                                                                                  contact Porsche Cars North America, Inc. at the address or toll-free telephone number
 contact the manufacturer or its authorized service and repair facility immediately.
                                                                                                  listed on the inside front cover of this booklet.
 Your Lemon Law rights only cover defects which occur within one year after delivery or
 12,000 miles of use, or the term of the express warranty, whichever comes first.

 The law states that it is reasonable for the Porsche dealer, Porsche Cars North America,
 Inc. or its agent to make up to three separate attempts to correct the same defect.

 After three unsuccessful repair attempts, or after a total of thirty calendar days in which
 the vehicle is out of service for repair, you may be entitled to a comparable replacement
 Porsche vehicle or a refund of the purchase price less an allowance for your actual use.

 If a dispute arises concerning a defect, you must first resort to the informal dispute
 settlement procedure established by Porsche Cars North America, Inc. to assert your
 Lemon Law rights.




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Notice to Consumers
State of Rhode Island

We at PCNA are proud of our commitment to quality and workmanship, and you, our
customer.

"Lemon Law" Information
If this vehicle is defective, you may be entitled under Rhode Island law to a refund of
the purchase price, your lease payments, or a replacement vehicle, at your option. For
information regarding your rights and remedies, contact the Rhode Island attorney
general’s office at (401) 274-4400.

If the Porsche vehicle you have purchased does not conform to the manufacturer’s
express warranty, you may be entitled under state law to a replacement, or to
compensation. However, in order to seek remedies under your state Lemon Law, you
must first provide Porsche Cars North America, Inc. with the opportunity to correct the
alleged defect. If your concern is still not corrected to your satisfaction, Porsche Cars
North America, Inc. recommends that you contact its Customer Relations Department
for assistance. Before you may bring action in a court, you must resort to Porsche Cars
North America, Inc.’s informal dispute resolution mechanism identified at the address
or toll-free telephone number indicated on page 6 of this booklet.




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 Notice to Consumers
 State of South Carolina

 We at PCNA are proud of our commitment to quality and workmanship, and you, our
 customer.

 If the new motor vehicle you have purchased does not conform to the manufacturer’s
 express warranty, you may be entitled under state law to a replacement or
 compensation. However, in order to exercise your rights, you must first report the
 condition in writing, by certified mail, to Porsche Cars North America, Inc., AT THE
 ADDRESS LISTED ON THE INSIDE FRONT COVER OF THIS BOOKLET AND PROVIDE
 PORSCHE CARS NORTH AMERICA, INC. WITH THE OPPORTUNITY TO CORRECT THE
 ALLEGED DEFECT.




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Notice to Consumers
State of Tennessee
We at PCNA are proud of our commitment to quality and workmanship, and you, our
customer.

If the Porsche vehicle you have purchased does not conform to the manufacturer’s
express warranty, you may be entitled under state law to a replacement or to
compensation. However, IN ORDER TO SEEK REMEDIES UNDER YOUR STATE
LEMON LAW, YOU MUST FIRST REPORT THE CONDITIONS IN WRITING AND BY
CERTIFIED MAIL TO PORSCHE CARS NORTH AMERICA, INC. AT THE ADDRESS
INDICATED ON THE INSIDE FRONT COVER OF THIS BOOKLET, AND PROVIDE
PORSCHE CARS NORTH AMERICA, INC. WITH THE OPPORTUNITY TO CORRECT THE
ALLEGED DEFECT. If your concern is still not corrected to your satisfaction, Porsche
Cars North America, Inc. recommends that you contact its Customer
Relations Department for assistance. BEFORE YOU MAY BRING ACTION IN A COURT,
YOU MUST RESORT TO PORSCHE CARS NORTH AMERICA’S INFORMAL DISPUTE
RESOLUTION MECHANISM IDENTIFIED AT THE ADDRESS ON PAGE 6 OF THIS
BOOKLET.




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 Notice to Consumers
 State of Texas

 We at PCNA are proud of our commitment to quality and workmanship, and you, our
 customer.

 If the new motor vehicle you have purchased does not conform to the manufacturer’s
 express warranty, you may be entitled under state law to a replacement or
 compensation. However, IN ORDER TO EXERCISE YOUR RIGHTS, YOU MUST FIRST
 REPORT THE CONDITION IN WRITING TO PORSCHE CARS NORTH AMERICA, INC.,
 AT THE ADDRESS INDICATED ON THE INSIDE FRONT COVER OF THIS BOOKLET.




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Notice to Consumers
State of Vermont
Vermont Registered Vehicles

We at PCNA are proud of our commitment to quality and workmanship, and you, our               In order for a repair attempt to qualify, you must obtain a written repair order. In
customer.                                                                                     calculating the thirty day repair time, the vehicle is deemed to be out of service if it is in
                                                                                              for repair for a majority of the day. You may not pursue remedies under the Lemon Law
If, during the express warranty period, you discover defects which substantially impair       if you have stopped making payments on any financing agreement because of the
the use, market value, or safety of this vehicle, and it has not been successfully repaired   condition of the vehicle. Vermont’s Motor Vehicle Arbitration Program includes other
after three repair attempts by an authorized dealer, or it has been out of service for        eligibility requirements which you must meet to qualify. The Vermont Lemon Law
repair for a cumulative total of thirty (30) calendar days, you may be entitled to apply      applies to new vehicles sold or leased for two or more years and registered in the State
for a comparable replacement or a refund of your purchase price less certain                  of Vermont.
allowances.
                                                                                              For further information as to your rights under the Lemon Law or forms, contact the
                                                                                              Vermont New Motor Vehicle Arbitration Board, 120 State St., Montpelier, Vermont
If you wish to seek a repurchase or replacement under the Vermont Lemon Law, you              05603, telephone (802) 828-5943, or your dealer. You may also wish to contact
must notify Porsche Cars North America, Inc. at the address indicated on the inside           Porsche at the address or toll-free telephone number listed on the inside front cover of
cover of this booklet. You may elect whether to arbitrate your claim through CAP-             this booklet.
Motors, administered by DeMars & Associates, Ltd., a dispute resolution service, or the
Vermont Motor Vehicle Arbitration Board. Your election of one of these dispute
resolution mechanisms precludes you from arbitrating your claim through the other.
Forms for the Vermont Motor Vehicle Arbitration Board have been included with your
new vehicle in the glove compartment. If, for some reason, you are unable to locate any
of the information discussed in this notice, please contact the Customer Relations
Department of Porsche Cars North America, Inc. at the toll-free number or the address
shown on the inside front cover of this booklet. Pending the arbitration hearing, you
must provide Porsche Cars North America, Inc. with an opportunity to correct the
defect. If you are satisfied with the repair, the arbitration proceedings may be
terminated but may be recommenced at any time during the express warranty period if
the repair proves unsatisfactory.




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 Notice to Consumers
 State of Virginia
 We at PCNA are proud of our commitment to quality and workmanship, and you, our
 customer.

 If the new Porsche vehicle you have purchased does not conform to the
 manufacturer’s express warranty, you may be entitled under state law to a
 replacement or to compensation. However, in order to exercise your rights, YOU
 MUST FIRST REPORT THE CONDITION IN WRITING TO PORSCHE CARS NORTH
 AMERICA, INC., AND PERMIT PORSCHE CARS NORTH
 AMERICA, INC. AN OPPORTUNITY TO REPAIR ANY NONCONFORMITY.

 Notice to Consumers Pursuant to Title 59.1, Code of Virginia, Chapter 17.6

 Porsche Cars North America, Inc. may, at times during the life of a Porsche vehicle,
 offer an adjustment program to pay all or part of the cost of certain repairs beyond the
 terms of the warranty. Under normal circumstances you will simply be asked to bring
 the vehicle to the nearest authorized Porsche dealer for repairs. Check the terms and
 conditions of any notice for details. You may also check with your dealer at any time
 to determine whether any adjustment program is applicable to your motor vehicle.




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Notice to Consumers
State of West Virginia

We at PCNA are proud of our commitment to quality and workmanship, and you, our
customer.

IMPORTANT: IF THIS PORSCHE VEHICLE IS DEFECTIVE, YOU MAY BE ENTITLED
UNDER THE STATE LAW TO A REPLACEMENT OR TO COMPENSATION. HOWEVER,
TO BE ENTITLED TO A REPLACEMENT OR COMPENSATION, YOU MUST FIRST
NOTIFY PORSCHE CARS NORTH AMERICA, INC., OF THE PROBLEM IN WRITING AND
PROVIDE PORSCHE CARS NORTH AMERICA, INC. AN OPPORTUNITY TO REPAIR THE
VEHICLE.

Porsche Cars North America, Inc. offers its customers third-party arbitration through
CAP-Motors, administered by DeMars & Associates, Ltd., a complaint resolution
service. For additional information about CAP-Motors, review page 6 of this booklet or
contact CAP-Motors directly at the address or toll-free telephone number found on
page 7 of this booklet.

In addition, in order to seek remedies under your state Lemon Law, you must first
notify Porsche, by certified mail, at the address shown on the inside front cover of this
booklet of the problem with your vehicle and provide Porsche an opportunity to repair
it.




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 Notice to Consumers
 State of Wisconsin

 We at PCNA are proud of our commitment to quality and workmanship, and you,               The written notification should be sent to Porsche Cars North America, Inc. at
 our customer.                                                                             the address indicated on the inside front cover of this booklet.

 If the new Porsche vehicle you have purchased does not conform to its written
 warranty, you may be entitled to a replacement or refund under Wisconsin‘s                Porsche Cars North America, Inc. offers its customers third-party arbitration through
 Lemon Law. That law states that a consumer may claim and receive a refund or              CAP-Motors, administered by DeMars & Associates, Ltd., a mediation/arbitration
 replacement vehicle if all of the following are true:                                     program. This program has been certified by the Wisconsin Dept. of Transportation.
                                                                                           Before bringing legal action against Porsche under Wisconsin‘s Lemon Law, you must
                                                                                           first resort to third-party arbitration through CAP-Motors. However, if you choose to
 1) The new vehicle has a condition or defect covered by the vehicle‘s warranty that       seek remedies which are not created by either the Wisconsin Lemon Law or the
 substantially impairs the use, value, or safety.                                          Magnuson-Moss Warranty Act, you need not use CAP-Motors although that option is
                                                                                           still available to you.
 2) The condition or defect is not the result of abuse, neglect, or unauthorized
 modification or alteration of the motor vehicle by the consumer.                          CAP-Motors may attempt to mediate a settlement between you and the manufacturer.
                                                                                           Mediation is voluntary on your part and may be terminated at any time. A decision shall
 3) Before the warranty expires or within one (1) year of delivery, whichever is sooner:   be rendered within forty (40) calendar days from the date of original receipt of the
     S   The same defect is subject to repair by the manufacturer, motor vehicle lessor,   dispute, in the event mediation fails to settle the dispute.
         or authorized dealer at least four (4) times and the problem continues; or,       CAP-Motors decisions are binding on Porsche but not the consumer. Porsche will
     S   The motor vehicle is out of service for a total of 30 days because of defects     comply with the decision within 20 days after receiving notice of the consumer‘s
         covered by the vehicle‘s warranty. The 30 days need not be consecutive.           acceptance. The decision and findings of CAP-Motors may be admissible as evidence in
     S   To obtain a refund or replacement, you must provide written notification to       any court action.
         Porsche Cars North America, Inc. of the nonconforming condition and request a
         refund or replacement of the vehicle. A motor vehicle Lemon Law notice form       For additional information about CAP-Motors, review the information on page 6 of
         can be found at the Wisconsin Department of Transportation website. Porsche       this booklet or contact CAP-Motors at the address indicated below or at the toll free
         Cars North America, Inc. has 30 days to respond to said written notification.     telephone number listed below.

                                                                                                        Consumer Arbitration Program for Motor Vehicles
                                                                                                        P. O. Box 925
                                                                                                        Haslet, TX 76052-0925
                                                                                                        (800) 279-5343




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                                                                          63
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 1st Owner                                                            4th Owner
 Address                                                              Address


 Tel. No.                                                             Tel. No.
 Purchase Date               Mileage                                  Purchase Date                  Mileage




 2nd Owner                                                            5th Owner
 Address                                                              Address


 Tel. No.                                                             Tel. No.
 Purchase Date               Mileage                                  Purchase Date                  Mileage




 3rd Owner                                                            6th Owner
 Address                                                              Address


 Tel. No.                                                             Tel. No.
 Purchase Date               Mileage                                  Purchase Date                  Mileage



                            Please complete a change of address card whenever there is a Name,
                                              Address, or Ownership change.


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(Please check)                     Change of Address                   Change of Ownership
Vehicle Identification:
                          VIN       W P __ __ __ __ __ __ __ __ __ __ __ __ __ __ __
Vehicle Description:
                          Model ________ ____________ Year ________

Vehicle Was Purchased: (please check) New ___ Used ___                Date Acquired: ____ /____ /____


(please print)
Owner/Driver:             ______      ________________________          ___    ____________________________________          _______
                          Prefix      First Name                        MI     Last Name                                     Suffix




Mailing Address:          _____________________________________________________________


                          _____________________________________________________________


                          ________________________________________              ____       ____________________    ______
                          City                                                  State     Zip                      Country


Telephone Number:         Work (_______) _______–_________                      Home (_______) _______–_________


                          Email ____________________________@__________________________________________________




If you have any questions about Porsche or the benefits of being an owner, please call 1 (800) PORSCHE.




                                                                                                                                       65
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                                                                                    NO POSTAGE
                                                                                    NECESSARY
                                                                                     IF MAILED
                                                                                       IN THE
                                                                                   UNITED STATES




                         BUSINESS REPLY CARD
                         FIRST CLASS   PERMIT NO. 26231   ATLANTA, GA.

                              POSTAGE WILL BE PAID BY ADDRESSEE


                     Porsche Cars North America, Inc.
                     Attn: Customer Relations
                     One Porsche Drive
                     Atlanta, Georgia 30354-1654




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              Case 1:24-cv-05492-ELR                     Document 33-3           Filed 04/07/25             Page 74 of 75

(Please check)                     Change of Address                   Change of Ownership
Vehicle Identification:
                          VIN       W P __ __ __ __ __ __ __ __ __ __ __ __ __ __ __
Vehicle Description:
                          Model ________ ____________ Year ________

Vehicle Was Purchased: (please check) New ___ Used ___                Date Acquired: ____ /____ /____


(please print)
Owner/Driver:             ______      ________________________          ___    ____________________________________          _______
                          Prefix      First Name                        MI     Last Name                                     Suffix




Mailing Address:          _____________________________________________________________


                          _____________________________________________________________


                          ________________________________________              ____       ____________________    ______
                          City                                                  State     Zip                      Country


Telephone Number:         Work (_______) _______–_________                      Home (_______) _______–_________


                          Email ____________________________@__________________________________________________




If you have any questions about Porsche or the benefits of being an owner, please call 1 (800) PORSCHE.




                                                                                                                                       67
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                                                                                    NO POSTAGE
                                                                                    NECESSARY
                                                                                     IF MAILED
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                                                                                   UNITED STATES




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